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Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY
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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — LOS ANGELES DIVISION

In re: CASE NO.: 2:23-bk-12747-VZ
JONG UK BYUN CHAPTER: 11

DISCLOSURE STATEMENT AND PLAN
OF REORGANIZATION

[11 U.S.C. §§ 1123, 1125]

(] Initial Disclosure Statement and Plan
[x] 1st Amended Disclosure Statement and Plan
[] 24 Amended Disclosure Statement and Plan

For information on court hearings,
Debtor(s). see the separately filed notice(s) of hearing.

On (specify the “petition date") May 4, 2023, the Debtor filed a voluntary bankruptcy petition under Chapter 11 of the
Bankruptcy Code ("Code"). This form Disclosure Statement and Plan of Reorganization (“DS and Plan’) is both the
Disclosure Statement (“DS”) and the Plan of Reorganization (“Plan”).

PROPONENT: The party who filed the DS and Plan (“Proponent”) is: [X] Debtor, or []

PLAN: The terms of the Plan, located at Sections VIII — X, comply with the requirements of 11 U.S.C. § 1123, including
the proposed treatment of claims of the Debtor's creditors and, if applicable, the interests of shareholders or partners.
The Court has not yet confirmed the Plan, which means the terms of the Plan are not now binding on anyone;
however, if the Plan is confirmed, the terms will bind the Debtor and any holders of claims or interests treated by the plan.

DISCLOSURE STATEMENT: Sections I - VIl and XI constitute the DS and describe the assumptions that underlie the
Plan and how the Plan will be executed. The Proponent believes the DS meets the standard for adequate information set
forth in 11 U.S.C. § 1125(a). The information disclosed is for explanatory purposes only and is as accurate as
possible.

Any interested party desiring further information should contact the attorney for Proponent identified above in the box at
top left of this page, using the contact information provided.

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NOTE ABOUT CITATIONS

“Chapter, section and §” references are to 11 U.S.C. §§ 101-1532 of the Bankruptcy Code.
“FRBP” references are to the Federal Rules of Bankruptcy Procedure.
“BR” references are to the Local Bankruptcy Rules for the Central District of California.

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[. GENERAL DISCLAIMER

PLEASE READ THIS DOCUMENT CAREFUULY, INCLUDING THE ATTACHED EXHIBITS, IT EXPLAINS WHOIS
ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN, AND WHO IS ENTITLED TO FILE AN OBJECTION TO
CONFIRMATION OF THE PLAN. IT ALSO IDENTIFIES THE TREATMENT THAT CLAIMANTS (CREDITORS) AND
ANY INTEREST HOLDERS (SHAREHOLDERS OR PARTNERS) CAN EXPECT TO RECEIVE UNDER THE PLAN,

IF THE PLAN IS CONFIRMED BY THE COURT.

THE SOURCES OF FINANCIAL DATA RELIED ON TO FORMULATE THIS DOCUMENT ARE IN EXHIBIT A,
A DECLARATION. ALL REPRESENTATIONS ARE TRUE TO THE PROPONENT’S BEST KNOWLEDGE.

NO REPRESENTATIONS CONCERNING THE DEBTOR THAT ARE INCONSISTENT WITH INFORMATION
CONTAINED IN THIS DS AND PLAN ARE AUTHORIZED EXCEPT TO THE EXTENT, IF AT ALL, THAT THE
COURT ORDERS OTHERWISE.

AFTER CAREFULLY REVIEWING THIS DOCUMENT AND THE ATTACHED DECLARATIONS AND EXHIBITS,
PLEASE REFER TO THE SEPARATELY FILED NOTICE OF DATES RELATED TO A HEARING ON MOTION TO
APPROVE ADEQUACY OF THE DISCLOSURE STATEMENT, OR HEARING ON MOTION TO CONFIRM THE
PLAN. EACH NOTICE WILL IDENTIFY DATES AND DEADLINES TO FILE A RESPONSE OR OTHER
OBJECTION, OR TO SUBMIT A BALLOT IF YOU ARE ENTITLED TO VOTE ON THE PLAN.

I. TYPE OF PLAN OF REORGANIZATION; IMPORTANT DATES

Payments and treatments under the Plan have a starting date (“Effective Date”), a period of time after the Effective
Date to continue payments (“Plan Term’), and a final payment date (“Final Payment’).

Plan Type Effective Date Plan Term Final Payment
Date
[] Liquidating: See [_] 14 days after order confirming Plan | (] 5 years; or April 2025

i timat Effecti
[xX] Other date: The effective date of | [X] 12 months an af on 2024).

this Plan is the first day of the (approximately)
month that is a business day
following the date that is 14 days
after the entry of the confirmation
order. lf, however, a stay of the
confirmation order is in effect on
that date, the effective date will be
the first business day after the date
on which the stay expires or is
otherwise terminated.

Section V.A.2 below for
anticipated sale(s)
Operating: See Section
Ill below

lil. DESCRIPTION OF DEBTOR’S PAST AND FUTURE BUSINESS AND EVENTS
PRECIPITATING BANKRUPTCY FILING

A. PAST AND FUTURE BUSINESS OPERATIONS: The Debtor is organized as a sole proprietorship. The Debtor
conducted over 90 percent of its business activity in Los Angeles California since 1993. Before this case was
commenced on (specify the “petition date”) May 4, 2023, the Debtor,

(_] provided the following services for pay:

manufactured or sold the following products:

LJ

[X] was in the business of renting real estate. (See Exhibit G for a detailed description of Debtor's property
or properties including locations, square footage, occupancy rates, etc.)

LJ

was in the business of developing real estate. (See Exhibit for a detailed description of Debtor's

property or properties including locations. size of lot(s), stage of development. etc.)
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[x] other: The Debtor is also in the business of brokering recycled metal and managing a recycling
plant.

The Debtor EX] will [_] will not continue this course of conduct.

The Debtor: is not a small business debtor within the meaning of 11 U.S.C.§101(51(d)).

[_] is a small business debtor within the meaning of 11 U.S.C.§101(51(d)), please see Exhibit
for information pertaining to 11 U.S.C. §1116 compliance.

B. FACTORS THAT LED TO FILING THIS BANKRUPTCY CASE (Describe briefly):

l. Mr. Byun is a single individual. He came to the United States from Korea in approximately 1992 and
started engaging in the metal recycling business the following year. He formed Central Metal, Inc. (“CMI”) in 1993 and
manages that business. Central Metal, Inc. filed a chapter 11 petition on January 8, 2010, Case No. 2:10- bk-I 0642-VZ.
Central Metal, Inc. was successful in getting a Plan of Reorganization confirmed on November 2, 2010. A discharge was
entered on July 5, 2011. His then-wife and Mr. Byun also filed a personal chapter 11 at about the same time, Case No.
2:10-bk-11241-VZ. They were also successful in getting a chapter 11 plan confirmed by Order entered on March 9,

2011. A discharge was entered on June 24, 2011. He also filed a case in 2018 and one in 2020, which are discussed
further below.

2. His troubles continuing to this date commenced when Central Metal's largest customer Hyundai Steel
Company, Ltd. (“Hyundai”) breached its contract with Central Metal to purchase goods. From 2007 through mid-2016,
Central Metal sold Hyundai more than $180 million in recycled materials pursuant to a Memorandum of Understanding.
Despite promises to the contrary, which caused Central Metal to purchase additional material handling equipment and
expanding its business, Hyundai stopped buying products from Central Metal in 2016 without any formal notice. In breach
of its promises to purchase 1.12 million tons of scrap metal since 2008, Hyundai barely purchased approximately 334,400
tons of scrap metal. As a result of Hyundai Steel's breach of its promises, CMI was never able to recover financially. CMI
and, by extension, Mr. Byun have lost approximately $32 Million from Hyundai's failure to purchase 140,000 tons of scrap
metal annually. One important detail here is that Hyundai discontinued performing on its obligations to CMI when it made
an equivalent promise to Prime Metals U.S.A., Inc. (“Prime Metals) in exchange for the purchase by Prime Metals of certain
mortgages against my real properties. Hyundai had previously agreed to purchase these real properties (and be flexible
regarding collection) as compensation for Hyundai's breach of purchase agreements with CMI in 2008 (the “Notes’).

3. Such Notes were the basis for Hyundai's attempting to foreclose on Mr. Byun’s Los Angeles real properties
on August 17, 2020 and then several times later, including on April 15, 2021. Counsel for the Debtor was present at all the
foreclosure auctions in anticipation of challenging faulty Notices of Default, but Hyundai eventually replaced the Notices of
Default.

4, In short, Hyundai breached agreements with CMI, which caused CMI to incur losses of tens of millions of
dollars in depreciating scrap metal and investments in equipment and expansion of operations. Hyundai then purchased
the Notes. However, since Hyundai then continued breaching its promises to buy scrap metal, both CMI and Mr. Byun were
unable to perform under the Notes.

5: Mr. Byun filed a 2020 personal chapter 11 case to stop a foreclosure sale of his real property by the senior
deed of trust holder, Hyundai. The foreclosure sale was set for August 17, 2020. He had previously listed his Los Angeles
properties for sale and secured three buyers to purchase all four properties for $34.8 Million, which was less than what he
believed he would get if given sufficient time for marketing and due diligence by potential purchasers. However, not even
those sales could close before August 17, 2020. Hyundai refused to provide him with any further extension even though the
total sales price exceeded Hyundai's claims of approximately $24 Million by roughly $10 Million. When he was unable to
convince Hyundai or the Superior Court for the County of Los Angeles to continue the sale, he was forced to file the
bankruptcy petition.

6. Mr. Byun intended to prosecute litigation against Hyundai as part of his previous bankruptcy case. However,
in the end, even though he caused to be filed a combined Disclosure Statement and Plan, approval of which came on for
hearing and was opposed only by Hyundai (not any of the present creditors who were, in fact, creditors during that case),
which had already received relief from stay, and caused to be filed an Amended Disclosure Statement and Plan which no
present creditor opposed, including the movant. The hearing on approval of the Amended Disclosure for the Amended
Disclosure Statement and Plan was continued several times to permit the Debtor's sale of the Santa Fe Property to pay off
Hyundai in a traditional sale as opposed to an foreclosure auction sale. So, instead of prosecuting litigation or the
confirmation of a Chapter 11 plan because of the imminent threat of foreclosure by Hyundai, he compromised and paid off
Hyundai to preserve the real estate he still has today and paid off Hyundai as well as several secured creditors with the
proceeds of the sale of the Santa Fe Property, with address of 8201 Santa Fe Avenue, Huntington Park, CA 90255 (“Santa
Fe Property”). In sum, he filed a Chapter 11 case in 2020 in the midst of the COVID-19 pandemic which halted real estate

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transactions and environmental inspections. He got an order dismissing it after he sold his biggest asset for $35,150,000
under duress from Hyundai and paid off his largest lienholders, leaving total debt of less than $5,000,000, the majority of
which was held by parties which consented to the dismissal either expressly, such as Packo Investments, Inc. or by not
filing an opposition to the Motion to Dismiss the case.

Ge After the case was dismissed, he planned to pay his remaining debts over time and attempted to pay off
his remaining consensual liens with loans secured by his remaining assets with an aggregate value of about $24 Million
and reached agreement with his remaining consensual lienholders, the BAE Family Trust and Mohamad Sanfaz whose
claims have been assigned to Packo Investments, Inc. on a compromised collective amount of just $2,100,000, which would
increase over time depending on when he could pay the amount which was memorialized in a Settlement Agreement as of
May 6, 2022 (the “Packo Settlement Agreement’). He pursued refinancing to pay the Packo Settlement Agreement even
though, as detailed below, he doubted the accuracy of the alleged debt. Unfortunately, unlike the Santa Fe Property, the
biggest remaining assets were not as easy to use as collateral and the threat of foreclosure discouraged lenders from
participating. For the Santa Fe Property, its sale was held up for months or even years by the need to get environmental
reports that COVID then prevented from being completed; however, the environmental reports concluded that only about
$25,000 was all that was needed to remediate any issues. For the largest remaining Los Angeles real estate, which was
used to engage in the same activities as the Santa Fe Property, however, the environmental analyses so far vary but one
estimates that the cost for remediation may be as high as $2-2.5 Million depending on the depth of any contamination.
However, as Environmental Expert Marvin Sachse testifies in the attachment to his declaration submitted herewith, in his
opinion the highest estimated cost of remediation that he can support at this time is of about $640,000. This is good news
as it should make it easier to refinance in the near or more distant future. Needless to say, the environmental issues delayed
him from getting a loan against the remaining Los Angeles real estate and when he found lenders who would consider
lending his money despite the environmental issues, the lenders withdrew when Packo Investments recorded a notice of
default on December 21, 2022 and then set a sale date. To top it off, his ability to borrow funds was also thwarted for many
weeks when he received a notice of sale at auction of his Los Angeles properties for defaulted property taxes, which had
added up while he was in danger of losing all his properties to Hyundai despite the large equity cushion the properties
provided to his secured creditors, as we now can confirm. Although he paid them in full, ironically, as Giovanni Orantes
attests in his declaration filed concurrently, the movant in two motions for relief from stay encouraged him to file for
bankruptcy relief even though it said post-petition that filing for bankruptcy relief now was somehow bad faith. In any event,
Mr. Byun believes that he should be more successful in obtaining refinancing at this time given Mr. Sachse’s opinion and
the protection afforded to lenders by the Bankruptcy laws.

8. On a parallel track as his attempts to borrow money to satisfy the Packo Settlement, since the Packo
Settlement Agreement had no release of claims, his company and Mr. Byun engaged a real estate attorney, Matthew Eanet,
who reviewed the loans in which Packo Investments was involved with him or Central Metal, Inc. over the years and
concluded that there were anomalies that warranted the filing of a complaint against Packo Investments and other people
involved. In the spirit of cooperation, he shared a substantially final version of the complaint with Packo Investments one
month before filing it for Packo Investments to explain itself and, therefore, avoid litigation. In other words, Mr. Byun wanted
to know if Packo Investments and its principal, Allen Park, actually had been paid well over $3.4 Million as payment at least
in full through the sale of his Santa Fe Property for a $2 Million note that he had already paid before, as his records indicated.
However, he never received any feedback on those allegations and had to file the complaint. The Court presiding over that
lawsuit initially issued a temporary restraining order against selling the remaining Los Angeles real estate, but ultimately did
not issue a preliminary injunction. It was not until the hearing on the Application for a Preliminary Injunction that Packo
Investments produced alleged notes adding up to about $2,000,000 that it claimed are the notes that were replaced with
the $2 Million note filed with its proof of claim. Although usury claims and other claims in the complaint against Packo
Investments, Inc. appear to remain valid, the claim that the over $3.4 Million | paid Packo Investments from the Santa Fe
Property sale should have gone to satisfy the BAE Family Trust and Mohamad Sanfaz notes that Packo has now acquired
did not appear viable. Thus, the filing of the present Chapter 11 case was needed to preserve the properties with a value of
about $24 Million for the benefit of not only Mr. Byun but also of his relatively few remaining creditors in addition to Packo
Investments (as assignee).

9. For months and even days before the present bankruptcy petition was filed, through his representatives,
he engaged in negotiations with lenders who were willing to lend me money to pay off Packo Investments to stop the pending
foreclosure; however, a transaction could not be completed at that time, but he will still pursue getting loans post-petition
while also filing a plan of reorganization for confirmation.

10. Packo denies and disagrees with the Debtor's assertions regarding Packo.

is Mr. Byun’s real estate assets have significant equity and, as an appraiser he retained to produce
appraisal reports testifies, are not decreasing in value. However, due to the impact capital gains taxes would have on
sales, continuing to operate his business that provides him with close to $100,000 in monthly income is the best use of the
properties. He is submitting declarations from an appraiser for real estate assets concurrently. Thus, again, Mr. Byun
owns real estate with values and claims against them of an appraised $24,000,000 and has debts of about less than $8
Million as set forth in that chart attached hereto as Exhibit B. As set forth in such chart, which he caused to be prepared,

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subtracting his debts from the value of his properties results in a global equity amount of approximately $16,000,000 less
costs for remediation which Mr. Sachse estimates at about $640,000. Allowing anybody to foreclose on his properties
would be patently unfair, especially since they all had given up on recovering anything until his advisors and Mr. Byun
managed to realize $35,150,000 in sales proceeds from the sale of the Santa Fe Property in the immediately previous
bankruptcy petition despite their arguments doubting the veracity of his testimony about the value of his properties and his
commitment to pay his creditors plus about $2 Million dollars in rents that accumulated after filing his 2020 petition, which
were paid to Hyundai.

12. In summary, Mr. Byun prosecuted his last case diligently and in good faith and eliminated almost 90% of
his debt before his last case was dismissed.

13. Similarly, after his 2018 bankruptcy case, in which he did attempt to sell his biggest property (which he
ultimately sold contrary to doubts from constituents), he endeavored to resolve the financial issues that led to his need for
reorganization to avoid having to re-file at all. Among other things, he allowed one of my properties to be foreclosed, sold
one of his properties for $2,250,000.00 and paid down claims, including property taxes by $2,239,921.37 on or
approximately February 6, 2020. He also, again, sought refinancing of the largest claim against his, which was allegedly
held by Hyundai Steel Company and was likely to secure bridge financing, if needed. However, most importantly, he
entered into lease agreements for his real estate assets which currently over $173,276.61per month (which was set to
increase to $195,165.84 starting in November 2020) and then would increase to $262,906.26 after August 2021 should
the tenant of his 8021 Santa Fe Avenue property obtain a full conditional use permit, which should have enabled him to
fund a Chapter 11 plan of reorganization, especially in light of the historically low interest in effect at the time and for the
next year or longer. A 30 year mortgage to repay the aforementioned total of $30,537,420.07 would have had a monthly
payment of $145,790.30 with 4% interest or $150,225.80 at 4.25%, for example. It should also be highlighted that the
alleged holder of the vast majority of his debt (previously defined as “Notes”), Hyundai, was a defendant in an action by
Chapter 7 Trustee Richard Marshack on behalf of the previous holder of the Notes, Prime Metals, U.S.A., Inc. by which
Trustee Marshack sought, among other things, to set aside as preferential or fraudulent, the transfer of the Notes to
Hyundai.

I4. Importantly, too, as ultimately proven accurate but discounted by Hyundai to the Court, the Environmental
Protection Agency (“EPA”) carried out its analysis of his properties and its conclusion is that the “EPA found little chemical
contamination on your facility; ..." The relatively clean environmental condition of his property should have made
reorganization in my 2018 Chapter 11 case possible, but the case was dismissed after the Court granted relief from stay
to Hyundai despite his filing a combined Disclosure Statement and Plan and an Amended Disclosure Statement and Plan.

15. At this time, despite the originally predicted capital gains tax consequences of the sale of the Santa Fe
property, his circumstances are now propitious to confirm a Chapter 11 plan because recently filed proofs of claim show
that his tax liability is only $2,134,357.98 for the federal government and about $1,175,829.28 for the State of California.
His financial outlook is now much better than during the pendency of the previous case, especially since he has equity in
his properties of over $15 Million over and above about $8.242 Million in debt.

16. When compared against his monthly income, it is clear that he can afford his plan and may speed up
recovery by creditors if he is able to borrow against his properties in conjunction with remediating the environmental
concerns discussed in Mr. Sachse’s declaration.

17. The foregoing notwithstanding, since the Court may not confirm an installment plan, Debtor is also
retaining a loan broker to arrange a loan secured by his real estate assets valued at about $24 million in an amount
sufficient to pay off all of his debts, which appear to be less than about $8 Million. Simultaneously, he is also listing two of
his real estate assets for sale, parcels commonly known as (1) 2245 Alameda Street, Los Angeles, CA (APN 5167-015-
063) with an appraised value of $4,990,000 and (2) 1736 E. 24th Street, Los Angeles, CA (APN 5167-015-067) with an
appraised value of $6,010,000. The aggregate proceeds from the sale of the two parcels, net of expenses and capital
gains taxes (of about $3.3 Million) plus funds in his bank accounts at the time, should suffice to pay off all his debts. If
necessary, he would also sell that parcel used for parking that is commonly known as 1746 East 22nd Street, Los
Angeles, CA (APN 5167-015-068) with an appraised value of $650,000. Obtaining a loan may take approximately three to
six months while closing on a sale of the properties would take approximately 12 months.

18. It should also be noted that two parties have obtained relief from stay. Creditors Adjustment Bureau
obtained an order granting relief from stay for the reasons stated on the record of the hearing to take all steps necessary
to foreclose but not to actually sell the parcel used for parking that is commonly known as 1746 East 22nd Street, Los
Angeles, CA (APN 5167-015-068) until May 9, 2024. Likewise, Mohamed Sanfaz obtained an order for relief from stay to
take all steps necessary to foreclose on the Debtor's Contiguous Properties, as defined below in Section VI.C., but not
actually conduct a foreclosure sale until May 4, 2024. Lastly, Mohamed Sanfaz filed a Motion to Dismiss or Coinvert the
case, but the Court denied it.

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C. FUTURE FINANCIAL OUTLOOK: Proponent believes that the Debtor's economic health has, or will, improve

from its prebankruptcy state for the following reasons. (Describe briefly)

As the Debtor's projections in Exhibit D and his financial situation in Exhibit E evidence, Mr. Byun’s income of almost

$90,000 per month is sufficient to fund interest payments to his secured and priority unsecured claimholders while he

refinances his debts or sells his two or three of his properties to fund paying all his claimholders in full.

D. PROPOSED MANAGEMENT OF THE DEBTOR:

(:

Names of persons who will manage the Debtor's business affairs: The Debtor will continue to manage his
business affairs.

Proposed compensation to persons listed above: The Debtor will fund his ongoing modest living
expenses after satisfying his obligations under this Plan from rental income.

Qualifications of persons listed above: The Proponent has operated businesses for about 29 years and
his business failed only because of Hyundai’s unexpected halt to its orders for metal as explained above,
which left the Debtor with the debt secured by his properties which had been incurred largely to increase
CMI’s capacity to be able to service Hyundai's demand. Without the large orders from Hyundai, the cost
of operating CMI's historical recycling business were too high to be offset by income from operations. At
this time, however, the Debtor successfully paid off almost 90% of his debts and as retained assets with a
value of approximately $24 Million with current debts of only about $8 Million, leaving an equity cushion of
$16 Million. Thus, the Debtor does appear to be eminently qualified for such straightforward business
model.

Affiliation of persons listed above to Debtor: Jong Uk Byun is the Debtor.

Job description: Manager and Landlord

E. PROPOSED [x] DISBURSING AGENT [ |] MULTI-PURPOSE POST-CONFIRMATION AGENT

will pay all amounts due under the Plan from a fund hereby authorized to be opened. This fund shall be
maintained in a segregated, interest-bearing account in a depository approved by the United States trustee
for the Central District of California for deposits of funds by trustees.

1.

ak wn

Name of person responsible for collecting money intended for distribution to claimants and transmitting it
to claimants: Jong Uk Byun*

Disbursing agent's address: 2203 Alameda Street, Los Angeles, CA 90058
Disbursing agent’s phone number: May Be Provided by Request to Debtor's Attorney.
Proposed compensation for person listed above: $0.

Qualifications of person listed above: Plan Proponent will serve as the Disbursing Agent. As explained
above, in light of the Debtor's history operating businesses, he is eminently qualified to manage the rental
of his properties, sale of some of his properties or refinancing and payment of his obligations under his
Chapter 11 Plan.

Affiliation of person listed above to Debtor: The Debtor, the Plan Proponent, is also the Disbursing Agent.
Job description: Manager and Operator

The Debtor shall act as the disbursing agent for the purpose of making all distributions provided
for under the Plan. The Disbursing Agent shall serve without bond and shall not receive
compensation or reimbursement for services and expenses rendered and incurred in connection
with making distributions under the Plan.

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IV. DEFINITIONS AND PRELIMINARY INFORMATION

A. CLAIMS AND INTERESTS

A claim refers to all obligations of the Debtor or against property of the Debtor. Claims treated under the Plan are
included whether the claim arose before or after the bankruptcy case was filed, and whether or not an obligation
involves a cash payment. A claimant refers to holder of a claim treated under the Plan, even if the party did not
file a proof of claim. An interest represents an ownership stake in the Debtor. An interest holder refers to holder
of an interest treated under the Plan, even if the party did not file a proof of interest.

A claim or interest is allowed if it is (a) timely and properly scheduled or filed, and not objected to; (b) objected to,
and was resolved by settlement of the parties or a court order, or (c) deemed allowed. A claim is deemed allowed
if the claim is listed on the Debtor's schedules and is not scheduled as disputed, contingent, or unliquidated. An
interest is deemed allowed if it is included on the list of equity security holders filed by the Debtor with the court
and is not scheduled as disputed. Allowed claims and interests are provided for in the Plan in the relevant
category or class.

A claim or interest is disallowed if it was timely objected to by a party in interest and the court ordered that the
claim or interest be disallowed in part or entirely. Disallowed claims and interests are not treated under the
Plan.

A claim or interest is disputed if a ruling on allowance has not been made, and (a) a proof of claim or interest has
been filed or deemed filed and a party in interest has filed an objection; or (b) a proof of claim or interest has not
been filed and the Debtor scheduled such claim or interest as disputed, contingent, unliquidated or unknown.

In this case, the deadline by which to file a proof of claim or interest is September 8, 2023 (“Bar Date”) and the
deadline by which to have an objection to claim or interest heard is January 31, 2024. The status of the claims
and interest objection process is that [_] all objections to have been resolved, and no other objections are
anticipated; or [X] the objection process is pending, or will shortly begin, for the claims or interests identified in
Exhibit B as having an objection pending and Proponent has filed the Motion for Order Approving Disclosure
Statement with objections still pending because the Bar Date had not expired by the time this disclosure statement
had to be filed and because counsel anticipates rulings on or negotiating resolutions of such objections on time to
obtain approval of a disclosure statement.

If the holder of a claim or interest wants to vote, but holds a claim or interest that has either (a) been objected to,
or (b) has been scheduled by the Debtor as contingent, disputed, unliquidated, or unknown, and the holder has
not filed a proof of claim or interest, the holder must file a motion to have its claim or interest allowed for voting
purposes in time for that motion to be heard before the hearing on confirmation of the Plan.

No distribution will be made on the disputed portion of a claim or interest unless allowed by a final non-appealable
order. FRBP 9019 authorizes the Debtor to settle disputed claims with court approval; but court approval is not
required if a proposed settlement does not exceed $2,500.00. The Debtor is required to reserve funds to pay the
amount claimants would receive if the claim is allowed in full (unless the court approves a different amount). To
the extent a disputed claim is disallowed, (a) the funds that had been reserved for such claims will be distributed
as provided in the Plan to other creditors of the same class (or as ordered by the court); or (b) if this box is
checked [x] then such funds will be distributed to the Debtor.

B. POTENTIAL § 1111(b) ELECTIONS. § 1111(b) allows a partially secured claim to be treated as fully secured
under certain conditions, notwithstanding § 506(a). Claimants should consult their attorney to evaluate if a
§ 1111(b) election is available and is in their best interest, and to identify the deadline for making an election.

C. VOTING AND OBJECTIONS TO CONFIRMATION OF PLAN.

“Voting” to accept or reject the Plan is different from “objecting” to confirmation of the Plan. Voting by ballot
means a claimant entitled to vote completes the ballot enclosed with this DS and Plan and returns it to
Proponent. Objecting to confirmation means a party in interest files and serves either a Preliminary Objection to
Confirmation of Plan, or an Opposition to Motion to Confirm Plan.

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1.Who may object to confirmation of the Plan. Any party in interest may object to confirmation of the Plan;
but, as explained below, not all claimants and interest holders are entitled to vote to accept or reject the Plan.

2.Who may vote (§ 1124). It requires both an allowed and impaired claim, or allowed and impaired interest in
order to vote either to accept or reject the Plan.

Impaired claimants include those whose legal, equitable, and contractual rights are altered by the Plan even if
the alteration is beneficial to the claimant. Impaired interest-holders include those whose legal, equitable, and
contractual rights are altered by the Plan, even if the alteration is beneficial to the interest holder.

Claims and interests are placed into classes consistent with § 1122. Members of unimpaired classes do not
vote, though they may file an objection to confirmation of the plan.

Many claimants are treated by the Bankruptcy Code as having accepted or rejected the Plan without a vote.
Some types of claims are required to be treated a certain way by the Bankruptcy Code and for that reason they
are considered unimpaired. Holders of such claims cannot vote. In addition, the Bankruptcy Code treats some
claimants as having rejected the Plan without a vote if (a) the claimant is to receive no distribution under the
Plan; (b) an objection has been filed to that claimants’ claim and the objection has not been resolved prior to
filing the Plan; or (c) Debtor scheduled a claim as contingent, disputed, unliquidated or unknown and the creditor
has not filed a proof of claim.

Classes Entitled to Vote Because Classes Not Entitled to Vote Because
the Class is Impaired: the Class is Unimpaired:

Except for Classes 1 and 2a and priority claims None.
under § 507(a)(8) and § 1129(a)(9)(C) , ALL
Classes Are Impaired and Entitled to Vote.

A party that disputes the Proponent'’s characterization of its claim or interest as unimpaired and wants to vote,
may request a finding of impairment from the Court in order to obtain the right to vote.

3. Votes necessary to confirm the Plan.. The court may confirm the Plan if at least one non-insider impaired class
of claims has accepted, and certain statutory requirements are met as to both nonconsenting members within a
consenting class and as to dissenting classes. A class of claim has accepted the Plan when more than one half
in number and at least two-thirds in amount of the allowed claims actually voting, vote in favor of the Plan. A
class of interest has accepted when more than one half in number and at least two-thirds in amount of the allowed
interests of such class actually voting have accepted it. It is important to remember that even if the requisite
number of votes to confirm the Plan are obtained, the Plan will not bind the parties unless and until the Court
makes an independent determination that confirmation is appropriate. That is the subject of any upcoming
confirmation hearing.

(A) How to vote. The Debtor will file and serve 2 notices: (1) Notice of Hearing on Adequacy of Disclosure
Statement ("Notice of DS Hearing”); and Notice of Dates Related to Confirmation of Plan and Deadlines to:
Submit Ballot; (B) File Preliminary Objection to Confirmation of Plan; and (C) File Response to Motion to
Confirm Plan (“Notice of Deadlines Related to Confirmation’).

A ballot will accompany the Notice of Deadlines Related to Confirmation. A voting claimant must follow the
instructions set forth in the Notice of Deadlines Related to Confirmation. A claimant whose claim is allowed as
partly secured and partly unsecured is entitled to vote in each capacity by delivering one ballot for the secured
part of the claim and another ballot for the unsecured portion of the claim.

V. SOURCE OF MONEY TO SATISFY CLAIMS AND INTERESTS

The Plan cannot be confirmed unless the Court finds that it is "feasible," which means that the Proponent has timely
submitted evidence establishing that the Debtor will have sufficient funds available to satisfy all expenses, including
the scheduled payments to claimants discussed in sections VIII below,

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A. NON-INCOME SOURCES TO FUND PLAN. See Exhibit(s) D for income that will fund the Plan. If additional

funding sources (non-income) are needed, see below:

1. Loan or Line of Credit: [-] None [| Loans or Lines of Credit are as follows:
NAME OF LENDER CONTRIBUTION TERM INT RATE | PROCEEDS
TYPE

(a) | The Debtor continues to seek Loan [_] Credit % Approximately
financing and may amend this _ | Line $8 Million
Disclosure Statement to reflect Less Cash on
relevant information. Hand

(b) LJ] Loan (] Credit . % $

Line
2. Sales of Property:

[_] None - Because of the potential significant ordinary and/or capital gain tax consequences of a sale
and the limitations imposed by costs to remediate environmental issues, the Debtor does not currently
have a purchase transaction in place, but reserves the right to sell some or all of his real property in the
future to pay claims sooner.

[_] All or substantially all of Debtor's assets will be sold. The terms of the proposed sale and evidence of
the financial solvency of the proposed buyer is attached in Exhibit

[x] The specified property of Debtor is planned to be sold as follows:

PROPERTY DESCRIPTION:

PROPOSED | PROPOSED PROCEEDS
SALE SALE TO FUND
DATE PRICE THE PLAN

(a)

Property in CLASS #3, #4 or #5: Check only

SNE Within 12 | $11-13 Million | All Net
[]3a (£)3b CJ3c [J3d [Je Months of Proceeds

X4a kKl4b K4c K4aq K4e BX 4f Ene
Ll5a (5b L15¢ [J5ad [J5e

[_] Property in CLASS #3 or #4: Check only ONE:
[LJ3a (13b L)3e [J3d [L13e $ $
[]4a [)]4b []4c [EJ4d []4e
[l5a [J5b C)5c¢ [5d ([)5e

“ Most claims in Class #4 are cross-collateralized against all of the Debtor's Los Angeles real estate.
Therefore, the Debtor is retaining a loan broker to arrange a loan secured by his real estate assets valued
at about $24 million in an amount sufficient to pay off all of his debts, which appear to be less than about
$8 Million. Simultaneously, he is also listing two of his real estate assets for sale, parcels commonly known
as (1) 2245 Alameda Street, Los Angeles, CA (APN 5167-015-063) with an appraised value of $4,990,000
and (2) 1736 E. 24th Street, Los Angeles, CA (APN 5167-015-067) with an appraised value of $6,010,000.
The aggregate proceeds from the sale of the two parcels, net of expenses and capital gains taxes (of about
$3.3 Million) plus funds in his bank accounts at the time, should suffice to pay off all his debts. If necessary,
he would also sell that parcel used for parking that is commonly known as 1746 East 22nd Street, Los
Angeles, CA (APN 5167-015-068) with an appraised value of $650,000. Obtaining a loan may take

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approximately three to six months while closing on a sale of the properties would take approximately 12

months.

(_] See Exhibit for additional anticipated sales of specific property.

3. Adversary Proceedings: [_] None Adversary proceedings are as follows:

ADVERSARY PROCEEDING DESCRIPTION: DATE FILEDOR | ADV.PROC. | ANTICIPATED
FRBP 7001 and LBR 7004-1 require a TO BE FILED NUMBER RECOVERY
summons/complaint.

(a) | Jong Uk Byun v. Packo Investments, Inc. July 2023 TBD $500,000 (Est.)

(b)

$

B. PAYMENTS ON THE EFFECTIVE DATE. This section demonstrates the Plan is feasible on the Effective Date.

(1) CLAIMS AND EXPENSES TO BE PAID ON THE EFFECTIVE DATE AMOUNT
Cure Payments: Executory Contracts, Unexpired Leases: Section VIII.B.2. $0
Administrative claims + Statutory Costs/Charges: Section VIII.C.1. +court costs $250

(estimated)
Nominal Unsecured Claims: Section VIII.E.1. $0
First Payments: General Unsecured Claims: Section VIII.E.2 $0
Arrearages + First Payments: Secured Claims: Sections VIII.F.—VIILG.. $44,758.45
TOTAL TO BE PAID ON THE EFFECTIVE DATE: $45,008.45

(2) SOURCE OF FUNDS ON THE EFFECTIVE DATE
Cash on Hand (estimated based on all cash on hand at end of June 2023 plus $883,540

projected income to be received up to the Effective Date less expenditures):

New Value: Contributor Name (identify): Ex Wife or Adult Chidlren, if needed. $0
Loan or Line of Credit: Described above in: ] V.A.(1a) (_] V.A.(1b) $0
Sale of Property: Described above in: [_] V.A.(2a) [_] V.A.(2b) $0
Adversary Proceeding Recovery: Described above in: [_] V.A.(3a) [] V.A.(3b) $0
Other Sources: [_] (identify): $0
TOTAL FUNDS AVAILABLE ON THE EFFECTIVE DATE: $883,540.00

(3) CASH AVAILABLE AFTER PAYMENTS MADE ON THE EFFECTIVE DATE: $838,531.55

C. PAYMENTS DURING THE PLAN TERM. Please see Exhibit D. for cash flow projections for the duration of the
Plan, to help determine that the plan is feasible during the plan term. The focus is on projected cash receipts and
cash disbursements. All non-cash items such as depreciation, amortization, gains and losses are omitted. A
positive number reflects a source of cash; a (negative number) reflects a use of cash. Exhibit D also contains

details of the assumptions that underlie the projections.

D. FINANCIAL RECORDS TO ASSIST IN DETERMINING WHETHER PROPOSED PAYMENT IS FEASIBLE

Please see Exhibit E for three types of financial documents related to past activities. Given the short timeframe of
the Plan and the reliance on refinancing or sales for funding, only the most recent monthly financial statements are
included and documents evidencing amounts on hand after depositing the June rents.

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E. EXPLANATION OF RISK FACTORS AND POTENTIAL FLUCTUATIONS WHEN IMPLEMENTING THE PLAN.

RISK FACTOR

EXPLANATION OF RISK AND FLUCTUATIONS

Business/Economic
[_] Sale of Property

[_] Balloon Payment

[_] Int. Rate Adjustment

It is difficult to speculate on all circumstances that may exist which may
prevent the successful consummation of the proposed plan. However,
completion of the Plan depends on the Debtor's continued business
operations and the income generated from renting his real estate assets.
Nevertheless, the debtor already has enough money to make his first plan

payments.
_] Other

The Debtor anticipates making balloon payments to holders of claims
secured by his real estate assets as he continues to be engaged in
seeking refinancing proposals for the existing debt and will list three of his
properties with value of over $11 Million for sale.

_] Business/Economic
__] Sale of Property

>] Balloon Payment
[_] Int. Rate Adjustment
_] Other

Another risk is the ability of the debtor to secure financing or sell two of
his parcels, which are highly coveted, and a third one, if necessary.
Environmental contamination issues for purchasers of the properties for
sale are minimal. To the extent that the Debtor will fund his plan through
the sale of two or three parcels, the risk of not obtaining financing is
ameliorated by his commitment to sell such properties, as he did on
December 31, 2021 with respect to his largest commercial property at the
time.

_] Business/Economic
Sale of Property

(_] Balloon Payment

(_] Int. Rate Adjustment
[_] Other

F. TAX CONSEQUENCES OF THE PLAN.

1. Tothe Debtor: Tax consequences to the Debtor are:

The following disclosure of possible tax consequences is intended solely for the purpose of alerting readers
about possible tax issues this Plan may present to the Debtor. The Debtor CANNOT and DOES NOT represent
that the tax consequences contained below are the only tax consequences of the Plan because the Tax Code
embodies many complicated rules which make it difficult to state completely and accurately all the tax implications
of any action.

The following are the tax consequences which the Plan will have on the Debtor's tax liability: In general,
absent an exception, a debtor will realize and recognize cancellation of debt income ("COD Income") upon
satisfaction of its outstanding indebtedness for total consideration less than the amount of such indebtedness.
The amount of COD Income, in general, is the excess of (a) the adjusted issue price of the indebtedness
satisfied, over (b) the sum of (x) the amount of Cash paid, and (y) the fair market value of any new consideration
(including stock of the debtor) given in satisfaction of such indebtedness at the time of the exchange.

A debtor will not, however, be required to include any amount of COD Income in gross income if the debtor is
under the jurisdiction of a court ina case under chapter 11 of the Bankruptcy Code and the discharge of debt
occurs pursuant to that proceeding. Instead, as a consequence of such exclusion, a debtor must reduce its tax
attributes by the amount of COD Income that it excluded from gross income under section 108 of the Internal
Revenue Code. In general, tax attributes will be reduced in the following order: (a) NOLs; (b) most tax credits and
capital loss carryovers; (c) tax basis in assets; and (d) foreign tax credits. A debtor with COD Income may elect
first to reduce the basis of its depreciable assets under section 108(b)(5) of the Internal Revenue Code.

2. To Claimants: Claimants should consult their advisors regarding potential tax effects of the Plan;
nevertheless:

[_] The Debtor believes tax consequences to claimants are:

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The Debtor is not certain of tax consequences, because: Tax consequences may vary from claimant to
claimant. Creditors and parties in interest concerned with how the plan may affect their tax liability should
consult with their own accountants, attorneys, and/or advisors. The Debtor CANNOT and DOES NOT
represent that the tax consequences contained above are the only tax consequences of the Plan because the
Tax Cade embodies many complicated rules which make it difficult to state completely and accurately all the
tax implications of any action. Additionally, the Debtor is not apprised of all possible claimants’ tax situations.

VI. ASSETS AND LIABILITIES OF THE ESTATE

A. ASSETS The identity and fair market value of the estate’s assets are listed in Exhibit C so that the reader can
assess what assets are at least theoretically available to satisfy claims and to evaluate the overall worth of the
bankruptcy estate. Any proposed sale of these assets is discussed in Section V.A.2 above.

B. LIABILITIES Exhibit B shows the allowed claims against the estate, claims whose treatment is explained in
detail in Sections VIII below.

C. SUMMARY The fair market value of all assets equals $22,564,207; however, the appraised value of four
contiguous Los Angeles properties if sold together is $23,770,000. The contiguous properties are: (1) 2245
Alameda Street, APN 5167-015-063; (2) 2203 Alameda Street, APN 5167-015-064; (3) 2203 Alameda Street,
APN 5167-0105-065; and (4) 1736 E. 24'" Street, APN 5167-015-067 (hereinafter, the “Contiguous Properties’).
The Debtor has received interest in selling properties (1) and (4) separately from the 2203 Alameda Street
parcels.

Total liabilities equal $7,462,928.46, but the amount of the administrative claims may continue to increase. Note
that these amounts may change as additional proofs of claim are filed. The Debtor already obtained full appraisals
of all his Los Angeles properties. In addition, the amount of liabilities would increase when the Los Angeles real
properties are sold as capital gains of approximately $3,300,000 or less may be incurred, depending on the basis
the Debtor is permitted to claim.

Vil. TREATMENT OF NONCONSENTING MEMBERS OF CONSENTING CLASS

The Plan must provide that a nonconsenting impaired claimant or interest holder of a consenting class receive at
least as much as would be available had the Debtor filed a Chapter 7 petition instead. In a Chapter 7 case the
general rule is that the Debtor's assets are sold by a trustee. Unsecured claims generally share in the proceeds
of sale only after secured creditors and administrative claimants are paid. Certain unsecured claims get paid
before other unsecured claims do. Unsecured claims with the same priority share in proportion to the amount of
their allowed claim in relationship to the total amount of allowed claims.

A claimant would recover from the assets of the bankruptcy estate less under chapter 7 than under chapter 11 for
a number of reasons including: (1) in a sale transaction, a chapter 7 trustee would have to pay capital gains
taxes to the Internal Revenue Service and the State of California; (2) in a chapter 7 case, a trustee is
appointed and is entitled to compensation from the bankruptcy estate as reflected in the chart below; and
(3) Chapter 7 Trustees usually employ professionals, such as accountants and lawyers, to help them to
carry out their tasks; such professionals are likely to incur tens if not hundreds of thousands of dollars in
fees and costs, which, together with the Chapter 7 Trustee’s compensation, is likely to dwarf the fees and
costs of the Debtor’s professionals. The following calculation reflects the scenario in which the Debtor
retains all his real estate properties while the next calculation reflects the scenario in which he does not
retain any of his Los Angeles properties.

CALCULATION OF ESTIMATED PERCENT RECOVERY CHAPTER 7 CHAPTER 11

(a) Total value of the Debtor's assets (Estimate): $22,564, 207.00 $22,564,207.00
See Exhibits A and C for a list of all property of the bankruptcy estate,
valuations, and valuation methods. Assumes disaggregated sales.

(b) Administrative Expense Claims (Estimate) — Chapter 7 administrative
expense claims would include both Chapter 11 claims and Chapter 7 claims; | <$2,305,136.56> <$200,000>
Debtor estimates $500,000 for Chapter 7 administrative claims.

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(c) Tax Claims (Estimate):

<$3,134,690.89>

<$3,134,690,89>

(d) Secured Claims to be Paid Before General Unsecured Claims:

<$3,588,264.47>

<$3,588,264.47>

(e) Trustee's Fees: Assuming the chapter 7 trustee disburses the net
liquidation value of assets to claimants, § 326 indicates the chapter 7
trustee is entitled to fees of:

* 25% on the first $5,000 of all moneys disbursed = $1,250,

* 10% on any amount over $5,000 but less than $50,000 = $4,500,
*5% on any amount over $50,000 but not in excess of $1 million
= $47,500,

* 3% on all amounts over $1 million) = $646,022.11

TOTAL TRUSTEE’S FEES =

<$646,022.11>

N/A

(f) New Value (the Debtor currently plans to pay 100% of his claims with
interest at the federal post-judqment interest rate, but reserves the right to
accept a new value contribution, if necessary)

NIA

$N/A

(g) Dollar Amount Available for General Unsecured Claims: (a) plus (f)
minus (b), (c), (d) and (e) =

$12,890,092.97

$15,641,251.64

(h) Dollar Amount of General Unsecured Claims: =

$1,277,074.52

$1,346,291.96

(i) |% recovery on general unsecured claims: [(g) divided by (h)] x
100% = Claims cannot recover more than their total except for post-
judgment interest

100-105.42%

105.42%

VIIl.PLAN PROVISIONS: TREATMENT OF CLAIMS

Below is a summary of who gets paid what and when and from what source. The Proponent is usually not required by
law to pay the holder of an unsecured claim or interest everything it would otherwise be entitled to, had a bankruptcy

case not commenced.

A. ASSUMPTION AND REJECTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES. [§ 365]

1. [] There are no executory contracts or unexpired leases.

2: Assumption. The post-confirmation debtor will perform all related obligations whether arising before or
after confirmation of the Plan. Any arrearages arising before confirmation of the Plan will be paid by the
first day of the month following the Effective Date unless the parties agree otherwise or the court finds
that a longer payment schedule still provides the creditor with timely cure and adequate assurance of
future performance. Obligations that arise after confirmation of the Plan will be paid as they come due.

L] Previously Assumed:

DESCRIPTION OF EXECUTORY CONTRACT DATE OF =| CURE AMOUNT:
OR UNEXPIRED LEASE ORDER TO Must be paid on
ASSUME Effective Date

(a)

(b)

[x] To be Assumed on the Effective Date.

DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE

CURE AMOUNT:
Must be paid on
Effective Date

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(a) | See List of Leases Attached as part of Exhibit G $0

3. [J Rejection. Claims arising from the rejection of an executory contract or unexpired lease are treated as
general unsecured claims in CLASS #2, except to the extent the court orders otherwise. A claim arising
from the rejection must be filed no later than 30 days after the date of the order confirming the Plan.

DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
(a) | None LJ Rejected: J Order Entered on:

[_] Deemed Rejected on:
L_] To be Rejected on the Effective Date

(b) [-] Rejected: (] Order Entered on:
[_] Deemed Rejected on:
[_] To be Rejected on the Effective Date

[x] See Exhibit G for additional executory contracts and unexpired leases to be assumed or rejected.

B. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(A) and § 1129(a)(9}(C),
UNLESS A CLAIMANT CONSENTS TO A DIFFERENT TREATMENT. §§ 1129(a)(9)(A) and (C) require that certain
claims be treated one ata time, rather than as a class. Even if another claimant votes to accept a lesser treatment,
the claims listed below are not altered. The debtor must prove to the court that claims are either being treated as
1129(a)(9) requires, or that the claimant agreed to some other treatment.

1. Administrative Expense Claims - § 507(a)(2) and § 1129(a)(9}(A). These include: (1) court-approved
claims of attorneys and other professionals; and (2) United States trustee fees under 28 U.S.C. chapter 123.

[_] The deadline to file administrative expensive claims is (date)
[_] There are no administrative expense claims.

[<x] All administrative expense claims [_] have been filed and/or [X] are anticipated to be filed, and the
claims and amounts indicated below are the amounts requested or anticipated to be requested:

Claimant: U.S. Trustee*
Claim Amount terest Amount Amount Paid After Effective Date
less paid to date i
oO oe ) Rate een Frequency Each Balloon Term of
Bd Estimated (if any) Date Payment Pymts Payments
$4,875.00 N/A $250 CL] Monthly Unknown None N/A
Quarterly

“U.S. trustee quarterly fees shall be paid until a final decree is entered or the case is dismissed or converted. Fees
of the Office of the United States Trustee are not subject to Court approval and may be paid in the ordinary course
of business when due.

Claimant: The Orantes Law Firm, P.C.

Claim Amount naareee Amount Amount Paid After Effective Date

less paid to date i

( P ) Rate Pald on Each Balloon Term of
LJ Actual (if any) Effective Frequency Payment Pymts Payments
Estimated Date y y y

$ 120,000 NIA To Be Monthly Debtor and Counsel will negotiate
Negotiated C] Quarterly payment terms for fees.

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‘Claimant: Loan Broker
Claim Amount Interest Amount Amount Paid After Effective Date
elt to ale) Rate dete Eesanene Each Balloon Term of
a Bete j (if any) ais q y Payment Pymts Payments
TBD N/A 0 C] Monthly To be paid as approved by Court per
L] Quarterly employment application.
Claimant: Environmental Consultant
Claim Amount Interest Amount Amount Paid After Effective Date
(less paid to date) Paid on
Fl Actual ae Effective Frequency 3 Each Balloon goon of
Bd Estimated (if any) Date ayment Pymts ayments
TBD N/A To Be C1 Monthly To be paid as approved by Court, if a
Negotiated uarterl consultant is necessary.
g CL] Quarterly ry

2. Tax Claims - § 507(a)(8) and § 1129(a)(9)(C). Must be paid in full within 5 years after the Petition Date.

[_] There are no tax claims All tax claims have been filed or scheduled, and are indicated below:

ONLY PARTIES HOLDING UNSECURED PRIORITY CLAIMS (I.E., SCHEDULE E) WHO ARE OWED ANY
AMOUNTS ARE LISTED HERE. SCHEDULED CLAIMANTS WHO ARE OWED $0 AND WILL, THEREFORE,
RECEIVE $0 ARE LISTED IN EXHIBIT B. PLEASE REFER TO SUCH EXHIBIT FOR DETAILS REGARDING
YOUR CLAIM, IF ANY.

Claimant: San Bernardino County Tax Collector — See Classes 4e and 2b for treatment.
Claim Amount Interest Amount Amount Paid After Effective Date
(less paid to date) Rate Paid on Each B f
Actual 514 Effective Frequency te alloon Term o
fe) Estinetan (§511) Date Payment Pymts Payments
See
See Classes 4e and 2b 18% NA (J Monthly NAp NA Classes 4e
C] Quarterly and 2b for
terms..
Claimant: Franchise Tax Board
Claim Amount Interest Amount Amount Paid After Effective Date
lees Bald JOdate) Rate Paid on Each Balloon Term of
a oe d (§511) eo Fraquanicy Payment Pymts Payments
Payable 12
months
from
Effective
Date with
$989,326 7% $5,771.07 | J Monthly $5,771.07 $989,326 anteres)
_] Quarterly payments
in prior
months for
no more
than 12
months.
For Notice purposes only

><] See Exhibit H for additional unsecured claims (not listed in VII.C) on which voting is not allowed.

(] § 507(a)(2) — Administrative Expense Claims
§ 507(a)(8) — Tax Claims
(_] § 507(a)(3) — Involuntary Gap Claims Allowed Under § 502(f)

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C. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(B) — CLASS #1.

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§ 1129(a)(9)(B) requires certain unsecured claims to be treated with priority over general unsecured claims, and
pay them in full on the Effective Date or as soon as practicable after unless claimants vote as a class to accept
deferred payments. If so, claims are impaired and claimants are entitled to vote to accept or reject the Plan.

><] There are no claims in CLASS #1.
[_] CLASS #1a: § 507(a)(1) - Wage and Commission Claims

Claimant:
Claim Amount Interest Amount Amount Paid After Effective Date
(ess peld fo.dale) Rate Paid ae Each Balloon Term of
L_] Actual (if any) Effective Frequency Payment Pymts Payments
_] Estimated Date
$ of $ L] Monthly $ $
L] Quarterly months

[] See Exhibit

for additional unsecured claims (not listed above) in Class #1:

[_] CLASS #1(a): § 507(a)(4) - Wage and Commission Claims

L_] CLASS #1(b): § 507(a)(5) — Employee Benefit Plan Contribution Claims
[_] CLASS #1(c): § 507(a)(6) — Grain Producer and Fisherman Claims

L_] CLASS #1(d): § 507(a)(7) — Consumer Deposit Claims

D. OTHER UNSECURED CLAIMS - CLASS #2.

L_] There are no claims in CLASS #2.

See Exhibit B for a list of all CLASS #2 claimants and amount owed to each.

1.

2.

><] CLASS #2a: Nominal Unsecured Claims. These include “nominal” claims of $500 or less, and any
larger unsecured claims whose claimant agreed to reduce its claim to this amount. Claimants are not
entitled to vote to accept or reject the Plan.

Claimants will be paid the nominal amount on the Effective Date, or as soon as practicable thereafter.
Estimated total payments are Not known at this time as there are no small claims and claimants may
nevertheless elect to receive $500 in conjunction with voting.

[x] CLASS #2b: General unsecured claims. These are unsecured claims not included in CLASS #2a, and
will be paid as follows. Claimants are entitled to vote to reject or accept the Plan.

[X] Percent Plan. Each claimant in CLASS #2b will be paid up to 100% of its claim beginning no later
than 12 months after the Effective Date (in conjunction with closing of refinancing or the sale of the
properties the Debtor proposes to sell under this Plan).

a. Over30-years-in-equal{_| monthly] quarterly_instalimentsdue-on-the firstday-ofeach
calendarquarter

b. [x] with interest at the rate of 5.42% Federal Post-Judgment Interest Rate per annum, or (]
without interest; and.

c. The amount each claimant receives depends on the total amount of allowed claims in this class.
[_] Pot Plan.
a. Prorata means the entire fund amount divided by the total of all allowed claims in this class.

b. Payment amount is $See Alternative Exhibit B per [_] month [_] quarter for a period of NA
months/quarters,

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Cc.

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Payments will begin on (date): Effective Date

[_] Other: See Exhibit

E. SECURED CLAIMS - CLASS #3, CLASS #4 and Class #5.

CLASS #3 - Unimpaired Non-Insider Claims. Claimants are not entitled to vote to accept or reject the Plan, Until

claims are fully paid, claimants retain their interest in the property securing the claim. Treatment is:

>X] There are no claims in CLASS #3.

[-] CLASS #3a | Claimant:
Basis for secured status:
Priority of lien:
Total Total Amount of Frequency Total .
Amount of | Payments Over | Interest rit AMSUNE OF of Yearly Pinal
: : Payment Each Payment
Allowed Time to Satisfy Rate Payments | payments
; ‘ Date Installment date
Claim Secured Claim
$ $ % $ $
Address or Other Description of Collateral Securing Claim 3a:
Value: Valuation | [_] Order on motion or stipulation [_] Declaration: Certified appraiser
$ Method [_] Other:
[_] Additional Comments relating to Class #3a:
[_] CLASS #3b | Claimant:
Basis for secured status:
Priority of lien:
Total Total Amount of ‘ Frequency Total :
Amount of | Payments Over | Interest soe t a et of Yearly eee
Allowed | Time to Satisfy Rate - : Installment | Payments | payments 7 :
Claim Secured Claim a eae et ae
$ $ % $ $

Address or Other Description of Collateral Securing Claim 3b:

Value:
$

Valuation

Method C] Other:

_] Order on motion or stipulation [J Declaration: Certified appraiser

(_] Additional Comments relating to Class #3b:

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[.] CLASS #3c | Claimant:
Basis for secured status:
Priority of lien:
Total Total Amount of : Frequency Total ;
Amount of | Payments Over | Interest inst AMOUAE GE of Yearly Ene
: ‘ Payment Each Payment
Allowed Time to Satisfy Rate Payments | payments
2 2 Date Installment date
Claim Secured Claim
$ $ % $ $

Address or Other Description of Collateral Securing Claim 3c:

Value:

$

Valuation

Method (_] Other:

(_] Order on motion or stipulation [[] Declaration: Certified appraiser

L_] Additional Comments relating to Class #3c:

[_] See Exhibit for more unimpaired secured claims. Label as Class #3d, #8e, etc.

CLASS #4 - Impaired Non-Insider Claims. Claimants are entitled to vote to accept or reject the Plan. Until

claims are fully paid, claimants retain their interest in the property securing the claim. Treatment is:

(_] There are no claims in CLASS #4.

ONLY PARTIES HOLDING SECURED CLAIMS (I.E., SCHEDULE D) WHO ARE OWED ANY AMOUNTS ARE
LISTED HERE. SCHEDULED CLAIMANTS WHO ARE OWED $0 AND WILL, THEREFORE, RECEIVE $0 ARE
LISTED IN EXHIBIT B. PLEASE REFER TO SUCH EXHIBIT FOR DETAILS REGARDING YOUR CLAIM, IF

ANY.

CLASS #4a

[_] Lien is not modified in

any way.

Basis for secured status: Deeds of Trust

Priority of lien: 18‘ as consensual lien

Claimant: Bae Family Trust (Packo Investments, Inc., as assignee)

[x] Lien is modified as follows: It is deemed reconveyed upon full payment under this Plan.
Holder must record a reconveyance as required by applicable law upon payment under
this Plan, which shall constitute full satisfaction of such lien.

months after
Effective
Date

Total Total Amount of First Amount of Frequency Total Final
Amount of | Payments Over | Interest Payment Each of Yearly auiacnt
Allowed Time to Satisfy Rate 5 t install t Payments | payments 7
Claim Secured Claim = ReEeeen a
$2,095,110.53|$2,304,621.58 10% Effective ($17,459.25  |Monthly with |12 12 Months
Date with balloon of|balloon from
$2,095,110.53/payment no Effective
later than 12 Date

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Address or Other Description of Collateral Securing Claim 4a: Los Angeles, California properties with
addresses of (1) 2245 Alameda Street, APN 5167-015-063; (2) 2203 Alameda Street, APN 5167-015-065;
(3) 2203 Alameda Street, APN 5167-0105-065; (4) 1736 E. 24» Street, APN 5167-015-067 and (5) 1746

East 22nd Street (APN 5167-015-068)

Value: Valuation (_] Order on motion or stipulation [J] Declaration: Certified appraiser
$24,000,000 | Method Other: Debtor as Owner.
XJ Additional Comments relating to Class #4a:

None.

CLASS #4b

Priority of lien: 6th

Basis for secured status: Judgment

L_] Lien is not modified in any way.

Claimant: Complete Business Solutions Group/Broadway Finance

[x] Lien is modified as follows: It is deemed satisfied upon full payment under this Plan.
Holder must record a Satisfaction of Judgment as required by applicable law upon
payment under this Plan, which shall constitute full satisfaction of such lien.

months after
Effective
Date

Total Total Amount of 3 Frequency Total :
Amount of | Payments Over | Interest wate Ace of of Yearly ne
Allowed Time to Satisfy Rate y Payments | payments y
: : Date Installment date
Claim Secured Claim
$344,834.96 ($379,318.46 10% Effective [$2,873.62 Monthly with |12 12 Months
Date with balloon — {balloon from
paymentof |paymentno Effective
$344,834.96 later than 12 Date

Address or Other Description of Collateral Securing Claim 4b: Los Angeles, California properties with
addresses of (1) 2245 Alameda Street, APN 5167-015-063; (2) 2203 Alameda Street, APN 5167-015-065:
(3) 2203 Alameda Street, APN 5167-0105-065; (4) 1736 E. 24" Street, APN 5167-015-067 and (5) 1746

East 22nd Street (APN 5167-015-068)

Valuation
Method

Value:
$24,000,000

[_] Order on motion or stipulation [X] Declaration: Certified appraiser
[><] Other: Debtor as Owner.

i

Additional Comments relating to Class #4b:
None.

ix] CLASS #4c

Priority of lien: 1st

Basis for secured status: Judgment

Claimant: Creditors Adjustment Bureau

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[_] Lien is not modified in any way.

Lien is modified as follows: It is deemed satisfied upon full payment under this Plan.
Holder must release the lien on this property as required by applicable law upon payment
under this Plan, which shall constitute full satisfaction of such lien.

Total Total Amount of : Frequency Total -
Amount of Payments Over Interest rirst AmounE of of Yearly Fitial
; : Payment Each Payment
Allowed Time to Satisfy Rate Payments | payments
i . Date Installment date
Claim Secured Claim
$271,568.64 |$298,725.50 10% Effective |$2,263.07with |Monthly with |12 12 Months
Date balloon balloon from
payment of |payment no Effective
$271,568.64 later than 12 Date
months after
Effective
Date

Address or Other Description of Collateral Securing Claim 4c: The Debtor's Los Angeles, California
property with address of 1746 East 22nd Street (APN 5167-015-068)

Value: Valuation [_] Order on motion or stipulation [x] Declaration: Certified appraiser
Up to Method J Other:
$650,000

[_] Additional Comments relating to Class #4c: None.

><] See Exhibit I for more impaired secured claims. Label as Class #4d, #4e, etc.

CLASS #5 - Insider Claims. These are claims of persons defined in 11 U.S.C. §101(31). Essentially, an insider
is a person with a close relationship with the Debtor other than a creditor-debtor relationship. Treatment is:

[Xx] There are no claims in CLASS #5.

[_] CLASS #5a_ | Claimant:
Basis for secured status:
Priority of lien:
[_] Lien is not modified in any way.
(_] Lien is modified as follows:
Raine of Eainents Over Interest ar ee of nee oe eae Sen
Allowed Time to Satisfy Rate Date fnetallnant Payments | payments date
Claim Secured Claim
$ $ % $ $

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Address or Other Description of Collateral Securing Claim 5a:

Value: Valuation | (_] Order on motion or stipulation [_] Declaration: Certified appraiser
3 Method C] Other:

|] Additional Comments relating to Class #5a:

(_] See Exhibit for more insider secured claims. Label as Class #5b, #5c, etc.

F. SHAREHOLDER OR PARTNER INTERESTS

[x] Under the Plan, the Debtor simply retains its property interest in property, both encumbered and exempt.

[_] Shareholders redeem their shares of stock and receive the following consideration:

L_] Partner's interest(s) in partnership Debtor:
1. Each partner's interest in the debtor shall remain as it is now. The identity of the general partners are:
. There [_] are no limited partners
_] are limited partners and their identities are as follows:

2. The interest of [_] some or [_] all of the partners changes under the Plan as follows:

_] The L] Articles of Incorporation or (J Bylaws have been changed to include a provision prohibiting the
issuance of nonvoting equity securities as required by 11 U.S.C. §1123(a)(6).

IX. UNCLAIMED OR UNDELIVERABLE PLAN DISTRIBUTIONS. Payments or other distributions made
under the Plan that are unclaimed or undeliverable for six (6) months after the attempted distribution will revest in the
post-confirmation debtor free of restrictions. Any entitlement to distribution will be barred.

X. EFFECT OF CONFIRMATION.

A. General Comments

The provisions of a confirmed Plan bind the Debtor, any entity acquiring property under the Plan, and any
claimant, interest holder, or general partner of the Debtor, even those who do not vote to accept the Plan.

The confirmation of the Plan vests all property of the estate in the Debtor.

The automatic stay is lifted upon confirmation as to property of the estate. However, the stay continues to prohibit
collection or enforcement of pre-petition claims against the Debtor or the Debtor's property until the date the
Debtor receives a discharge, if any. If the Debtor does not seek a discharge, the discharge is deemed denied and
the stay as to the Debtor and the Debtor's property terminates on entry of the order confirming the Plan.

B. Discharge of Liability for Payment of Debts; Termination of Rights and Interests of Equity Security
Holders and General Partners Provided for by the Plan

[x] Debtor will seek an order of discharge pursuant to 11 U.S.C. § 1141(d)(5)(C).

[_] Debtor is not eligible for a discharge pursuant to 11 U.S.C. § 1141(d)(3) because:
L_] the Plan provides for the liquidation of all, or substantially all, of the property of the estate.

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[_] the Debtor will not engage in business after consummation of the Plan.

[_] the Debtor would be denied a discharge under 11 U.S.C. § 727(a) if the case were a case under
chapter 7.

[_] Debtor is a corporate debtor thus pursuant to 11 U.S.C. §1141(d)(5)-(6), “[t]he confirmation of the plan does
not discharge the Debtor from any debt of a kind specified in 11 U.S.C. §523(a)(2)(A)-(B) that is owed to a
domestic governmental unit, or owed to a person as the result of an action filed under subchapter III of
Chapter 37 of title 31 or any similar State statute, or for a tax or customs duty with respect to which the debtor
made a fraudulent tax return or willfully attempted in any manner to evade or to defeat such tax or such
customs duty.”

C. Modification of the Plan

The Proponent may modify the Plan pursuant to 11 U.S.C. § 1127.

D. Final Decree

Once the Plan has been consummated, a final decree may be entered upon motion of the Proponent. The effect
of the final decree is to close the bankruptcy case. After such closure, a party seeking any type of relief relating to
a Plan provision can seek such relief in a state court of general jurisdiction.

E. Material Default

If Debtor fails to make any payment required under the Plan, or to perform any other obligation required under the
Plan for more than 14 days after the time specified in the Plan, the affected creditor may serve upon Debtor and
Debtor's attorney (if any) a written notice of default. The Debtors are in Material Default under the Plan if the
Debtor fails within 21 days of the service of such notice of default either: (i) to cure the default or (ii) to obtain from
the Court an extension of time to cure the default or a determination that no default occurred.

Xl. LIST OF EXHIBITS AND DECLARATIONS.
A. MANDATORY

Exhibit A: Declaration of Jong Uk Byun to support all assertions in this Disclosure Statement, and all
information provided in all other Exhibits.

Exhibit B: List of all claims (next to each claim, indicate whether or not the claim is disputed and scheduled
or unscheduled, and include the class number).

Exhibit C: List of all property of the estate (including cash on hand) and going concern and liquidation
valuations of all listed property as of the date of plan confirmation. Include appendices to
describe valuation methods such as order entered determining value, declaration of appraiser
with approach used, qualifications as expert, etc. For rental property include average monthly
cash flow, deducting for debt service and ordinary, necessary operating expenses for the past
three months and the past two years. Estimates of collections and likelihood of collections of
accounts receivable and lawsuits should also be provided. See Exhibit F for appraisals.

Exhibit D: Projected income, expenses, and plan payments prepared on (date) April 15, 2021, to support
that the plan is feasible during the plan term, as referred to in section V.C. Details include
proposed plan payments to be made on the Effective Date and for each month and/or quarter of
the Plan Term. Sources and uses of funds and any expense fluctuations are explained.

Exhibit E: Financial records:

xX Balance sheets, income and expense statements, cash flow statements for the period
including the most recent twelve-month calendar year and all months subsequent thereto.
Sources and uses of funds and any expense fluctuations are explained.

[x] Evidence of funds constituting the source of funds on the effective date (i.e., MOR
summary)

B. OPTIONAL

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><] Exhibit F: Declarations: Certified Appraisers
|] Contributor of New Value (regarding ability to provide funding)

_] Other:

[Xx] Exhibit G: Other Exhibits: List of Leases with lease amounts.

C. ADDITIONAL CLAIMS THAT ARE UNABLE TO BE IDENTIFIED IN SECTIONS VIII.A — VIILF.
Exhibit H: Additional Claim(s), Sec.J] VILA EI VIB CJ vil.c (CJ vilb (J) Vil.€ (] VuLF
[<] Exhibit I: Additional Claim(s), Sec. ] VILA CJ VILB CJ VviLc CJ VLD &) VILE (J VILF
[_] Exhibit J: Additional Claim(s), Sec. VILA CJ VuLB CJvillc CJ) viilD [) VILE (] VILF
[J Exhibit K: Additional Claim(s), Sec. VILA CJ Vvill.B (J) vil.c (J vilbD (CJ VILE (Vir
_] Exhibit L: Additional Claim(s), Sec. VILA [J VULB LJ vic (J Vib (C) vill.E (J VuLF

Date: 4/15/21 /s/ Giovanni Orantes

Signature of attorney for proponent

Giovanni Orantes

Printed name of attorney for proponent

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EXHIBIT A - DECLARATION IN SUPPORT OF DISCLOSURE STATEMENT AND PLAN

1 |, Jong Uk Byun have personal knowledge of the facts set forth in this declaration.

2: The name of the individual(s) who prepared this Disclosure Statement and Plan is(are) Giovanni Orantes.

3. The source of all financial data is my books and records.

4. All facts and representations in the Disclosure Statement and Plan are true to the best of my knowledge.

3j No fact has been omitted that is material to a claimant or equity security holder in voting to accept or reject
the proposed Plan.

6. The name of the person who prepared the cash flow projections and the other financial documents are
Jason Pak and Giovanni Orantes for projections, and such persons acting under the direction of the Debtor
(or Proponent). Hyung Jin Park prepared the historical information from information | provided to him, but
he did not audit such information, and therefore, he does not guarantee its accuracy.

ts The accounting method(s) used to prepare the cash flow projections and other financial documents is(are)
cash method.

8. Attached as part of Exhibit C to the Disclosure Statement And Plan Of Reorganization filed with the Court is
a true and correct copy of the list of my real estate properties. | also attach to Exhibit C a true and correct
copy of declarations from appraisers regarding the value of the properties and will file the appraisers in the
Bankruptcy case and provide them to any party-in-interest upon request.

9. | valued assets for which | provide estimated values in the combined Disclosure Statement And Plan Of
Reorganization to which this declaration is appended at liquidation. That is, the price that a willing buyer
would pay me for the assets at the time of plan confirmation currently estimated to occur between March
and March 2024, except in cases where formal appraisals were secured or Kelly Blue Book or other
similarly authoritative source was consulted. With respect to real property, | am familiar with the values of
real assets where my real properties are located and also have contracted licensed real estate appraisers
to provide opinions of value regarding my specific real properties, which | believe to be true, and provide
values in the combined Disclosure Statement And Plan Of Reorganization on such basis, including based
on authenticated formal appraisals of all my real properties located in the County of Las Angeles. The
schedules A/B and C attached as part of Exhibit C to the Disclosure Statement And Plan Of Reorganization

are restated to reflect estimated values as of the applicable time.

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10. After paying off the priority claims of taxing authorities within 60 months from the date | commenced my
Bankruptcy Case, | would dedicate all the money freed up by completing the payments of the priority claims
of taxing authorities, | would like to pay off the remaining non-priority debts as proposed in my plan.

11. The foregoing notwithstanding, since the Court may not confirm the installment plan previously described, |
am also retaining a loan broker to arrange a loan secured by my real estate assets valued at about
$24 million in an amount sufficient to pay off all of my debts, which | believe are less than about $8 Million.
Simultaneously, | am also listing two of my real estate assets for sale, parcels commonly known as (1) 2245
Alameda Street, Los Angeles, CA (APN 5167-015-063) with an appraised value of $4,990,000 and (2) 1736
E. 24th Street, Los Angeles, CA (APN 5167-015-067) with an appraised value of $6,010,000. The
aggregate proceeds from the sale of the two parcels, net of expenses and capital gains taxes (of about $3.3
Million) plus funds in my accounts at the time, should suffice to pay off all my debts. If necessary, | would
also sell that parcel used for parking that is commonly known as 1746 East 22nd Street, Los Angeles, CA
(APN 5167-015-068) with an appraised value of $650,000. | am informed and believe that obtaining a loan
may take approximately three to six months while closing on a sale of the properties would take

approximately 12 months.

[REMAINDER OF PAGE LEFT INTENTIONALLY BLANK]

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| declare under penalty of perjury under the laws of the, United States that the fallowing statements are true and
based upon personal knowledge.

nono

Sent
i ee ° 7. wit a
Date: 7/10/23 Ll Bh —F 3a
fa Signature of Declarart G
io

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Exhibit “B”’
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All Claims (Proposed Effective Date of 3/1/24)

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Name* Tentatively Monthly
Class Value of Filed Allowed Objection/Comment Payment Pending Total
Collateral Claim Claim Amount** to Filed Proofs of Claims Full Payment Payment

ADMINISTRATIVE EXPENSES

Orantes Law Firm To be determined during bankruptcy case TBD

Office of the United States Trustee Usually paid in full in ordinary course of business TBD

TOTAL

Schedule D - Secured Claims Amounts may be paid from refinancing or sale proceeds

Adv. Fin./Grand Pacific NA §0.00|Time Share $0.00 0
This claim was paid off in full from the sale of the 8201 Santa Fe Ave.

Allen Park NA $0.00 $0.00|Huntington Park, CA 90255 property $0.00 $0.00
Interest Only pending refinancing within one year of Effective Date. Debtor may

Bae Family Trust (Packo Investments Inc.) 4a $24,000,000.00 8 $2,095,110.53 object to claim. Payoff amount per RFS Motion. $17,459.25 $2,304,621.58

Bank of America NA $0.00 $0.00 $0.00 $0.00

BFS West, Inc. NA $0.00 $0.00|Only UCC-1 for judgment filed with Secretary of State, not in County records. $0.00 $0.00

Complete Business Solutions Group/Broadway Interest Only pending refinancing within one year of Effective Date. Debtor may

Finance 4b $24,000,000,00 2 $344,834.96 | object to claim. Payoff amount per RFS Motion. $2,873.62 $379,318.46
Interest Only pending refinancing within one year of Effective Date. Debtor may
object to claim. Payoff per Proof of Claim. Collateral value set per Claimant's

Creditors Adjustment Bureau 4c $650,000.00 qt $271,568.64 |request. $2,263.07 $298,725.50
This claim was paid off in full from the sale of the 8201 Santa Fe Ave.

Hyundai Steel Company NA $0.00 $0.00|Huntington Park, CA 90255 property $0.00 $0.00
This claim was paid off in full from the sale of the 8201 Santa Fe Ave.

Kap Chan Chong NA $0.00 $0.00|Huntington Park, CA 90255 property $0.00 $0.00

Los Angeles County Tax Collector NA $0.00 $0.00|Paid off in full in 2022. $0.00 $0.00
Proof of claim was withdrawn after Debtor moved for disallowance in previous

Los Angeles County Tax Collector NA $0.00 $0.00] case. $0.00 $0.00

M&A Equities, LLC NA $0.00 $0.00] Debtor's objection to this claim was sustained in previous case. $0.00 $0.00
Interest Only pending refinancing within one year of Effective Date. Debtor may

Mohamed Sanfaz (Packo Investments Inc.) 4d $24,000,000.00 3 §743,291.77| object to claim. Payoff amount per RFS Proof of Claim. $6,194.10 $817,620.95
This claim was paid off in full from the sale of the 8201 Santa Fe Ave.

Packo Investments NA $0.00 $0,00|Huntington Park, CA 90255 property $0.00 $0.00
This amount of property taxes is secured. See Class 2b for treatment of the
unsecured $7,510.90 portion. It will receive interest Only pending refinancing
within one year of Effective Date. Debtor may object to claim. Total amount to
be paid shall be the amount due upon refinancing of sale after calculating
interest and other allowed amounts, if any

San Bernardino County Tax Collector 4e $500,000.00 7 $81,590.14 $1,223.85 $96,276.37

Select Portfolio Servicing, Inc NA $0.00 $0.00 $0.00
This claim was compromised in full to be able to sell 8201 Santa Fe Ave.

Soo Yeong Kim NA $0.00 $0.00|Huntington Park, CA 90255 property $0.00 $0.00
Judgment for Goods Sold - 1736 East 24th Street, Los Angeles, CA 90058; 2203
S. Alameda Street, Los Angeles Ca 90058; 2445 S. Alameda Street, CA 90058;

Southern Counties Oil, Co. af $24,000,000.00 $14,213.24 |24399 Old Highway 58, Hinkley, CA 92347 $118.44 $15,634.56
This claim was paid off in full from the sale of the 8201 Santa Fe Ave.

Toni Ko NA $0.00 $0.00|Huntington Park, CA 90255 property $0.00 $0.00

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Name* Tentatively Monthly
Class Value of Filed Allowed Objection/Comment Payment Pending Total
Collateral Claim Claim Amount** to Filed Proofs of Claims Full Payment Payment
Wells Fargo Bank NA NA $0.00|Secured credit card $0.00 $0.00
Wells Fargo Dealer Services NA $0.00|2017 Honda Ridgeline- paid off $0.00 $0.00
Wilshire State Bank/Bank of Hope NA $0.00 $0.00}24399 Old Highway 58 Hinkley, CA 92347 paid off $0.00 $0.00
Yeon Shim Song NA $0.00 $0.00 $0.00
TOTAL $3,550,609.28 $30,132.34] $3,912,197.42
Monthly Amount Payment If
payable 5 years from

Schedule E - Unsecured Priority Claims Amounts may be paid from refinancing or sale proceeds 05/04/23
Employment Development Department $0.00] For Notice Purpose Only $0.00 $0,00

Interest Only pending refinancing within one year of Effective Date. Debtor may

object to claim, Total amount to be paid shall be the amount due upon

refinancing of sale after calculating interest and other allowed amounts, if any
Franchise Tax Board 6 $1,175,829.28 $6,859.00 $1,258,137.33

Interest Only pending refinancing within one year of Effective Date. Debtor may

object to claim, Total amount to be paid shall be the amount due upon

refinancing of sale after calculating interest and other allowed amounts, if any
Internal Revenue Service 4 $2,134,357.98 $12,450.42 $2,283,763.04
State Board of Equalization $0.00|For Notice Purpose Only $0.00 $0.00
U.S. Small Business Administration $0.00} For Notice Purpose Only (not priority) $0.00 $0.00
TOTAL $3,310,187.26 $19,309.43| $3,541,900.37
Schedule F - General Unsecured Nonpriority Paid Upon Closing of
Claims Payments will be made with refinancing or sale proceeds Refinancing or Sale
American Express 2b $0.00 $0.00 $0.00
Bank of America 2b $0.00 $0.00 $0.00
Bank of Hope 2b $0.00 $460,140.29|Based on judgment and orders re attorneys’ fees and costs for litigation. $485,079.89 $485,079.89
Bejac 2b $0.00 $0.00 $0.00
BMW Bank of North America 2b $0.00 $0.00 $0.00
Bok Sook Byun 2b $0.00 $0.00 $0.00
California Dept. of Tax and Fee Administration 2b $0.00 $0.00 $0.00
Capital One 2b $0.00 $0.00 $0.00
Capital One 2b $0.00 $0.00 $0.00
Capital One 2b $0.00 $0.00 $0.00
Capital One 2b $0.00 $0.00 $0.00
Capital One 2b $0.00 $0.00 $0.00
Capital One/Saks F 2b $0.00 $0.00 $0.00
Cemex Construction Materials 2b $0.00 $0,00 $0.00
City of Los Angeles 2b $0.00 $0.00 $0.00
Coleman & Horowitt, LLP 2b $0.00 $0.00 $0.00
CP Construction 2b $0.00 $0.00 $0.00
Daniel Park 2b $0.00 $0.00 $0.00
Deutsche Bank National Trust Co. 2b $221,246.63 $233,238.20 $233,238.20
OLI Assets Bravo, LLC/DL Global, Ltd. 2b 5 $334,625.78|The Debtor anticipates objecting to this claim. $352,762.50 $352,762.50
OTSC- Site Clean Up Program 2b $0.00 $0.00 $0.00
Eisner Jaffe 2b $0.00 $0.00 $0.00
First Premier Bank 2b $0.00 $0.00 $0.00
First Progress 2b $0.00 $0.00 $0.00
First Savings Bank/Blaze 2b $0.00 $0.00 $0.00
Genesis FS Card Services/Quantum3Group LLC 2b $6,465.00 $6,815.40 $6,815.40

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Desc

Name* Tentatively Monthly
Class Value of Filed Allowed Objection/Comment Payment Pending Total
Collateral Claim Claim Amount** to Filed Proofs of Claims Full Payment Payment

Hose-Man 2b $0.00 $0.00 $0.00
J&1 Consulting, Inc. 2b $0.00 $0.00 $0.00
Jinah Oh 2b $0.00 $0.00 $0.00
Joan Park 2b $0.00 $0.00 $0.00
Jourdain DeWard 2b $0.00 $0.00 $0.00
Municipal Services Buerau 2b $0.00 $0.00 $0.00
Ocwen Loan Servicing 2b $0.00 $0,00 $0.00
Par Funding 2b $0.00 $0.00 $0.00
Prima Financial 2b $0.00 $0.00 $0.00
Resnik, Hayes, Moradi, LLP 2b 3 $77,382.00 $81,576.10 $81,576.10
San Bernardino County Tax Collector 2b 7 $7,510.90|Unsecured portion of claim per Proof of Claim No. 7. $112.66 $8,862.86
Sequoia Financial Services 2b $596.25 $628.57 $628.57
Small Business Administration 2b $96,904.91 $102,157.16 $102,157.16
State Compensation Insurance Fund 2b $184,726.52 $194,738.70 $194,738.70
Stephen M. Cook 2b $0.00 $0.00 $0.00
Synchrony Bank/Amazon 2b $0.00 $0.00 $0.00
Synchrony Bank/Chevron 2b $0.00 $0.00 $0.00
The Bank of Missouri/Milestone 2b $0.00 $0.00 $0.00
US Bank/RMS CC 2b $0.00 $0.00 $0.00
Zamucen & Curren, LLP 2b $0.00 $0.00 $0.00
TOTAL $1,382,087.38 $1,457,109.18| $1,465,859.38
Leases

None 0 $0.00 $0.00
GRAND TOTAL $8,242,883.92 $8,919,957.17

“Creditors with zero amounts are listed because they still show in title reports or in an abundance of caution.

** Unless a proof of claim has been filed and the Debtor indicates that a motion to disallow will NOT be filed, amounts are estimates abd a claim objection may be filed.

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Exhibit “C”
Case 2:23-bk-12747-VZ Doc118 Filed 09/21/23 Entered 09/21/23 16:32:49 Desc
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INU CUr enn uu Cl Lecco nr Ru LL pe

Debtor Jong Uk Byun Beas
First Namo Middie Name Manic

Debtor 2 ene ee a .

{Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Casenumber 2:23-bkK-12747-VZ 00 1 Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best, Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number (if known).
Answer every question.

Gas Describe Each

1. Do you own or have any fegal or equitable interest in any residence, building, land, or similar property?

ing, Land, or Other Real Estate You Own or Have an Interest In

01 No. Go to Part 2.

a Yes. Where is the property?

tA What is the property? Check ail that apply
2203 S. Alameda St. ; 1 Single-family home Do not deduct! secured claims or exemptions, Put
Streal address, if available, or other description a ceaEITAl the amount of any secured claims on Schedule D:
Duplex of multi-unit buitding Creditors Who Have Claims Secured by Property.
Oo Condominium or cooperative
( Manufactured or mobile home
Current value of the Current value of the
Los Angeles CA 90058-0 000 - C] Land entire property? portion you own?
Cily Slate ZIP Code (C1 Investment property _$10,390,000.00 $10,390,000.00°
1 Timeshare
. Describe the nature of your ownership interest
Mi Other Industrial sfc as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
BB Dextor 4 only Fee simple
Los Angeles C1 pDestor 2 only
ay eoneneneen eerie i co . i a
Detior.1 and Debtor é:only o Check if this is community property
1 aAtieast one ef the debters and ancther (see instrusters)

Other information you wish to add about this item, such as local
property identification number:

Value is from the formal valuation dated May 31, 2023.

Official Form 106A/B Schedule A/B: Property page 1
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Debtor? Jong Uk Byun sone eraccamncaepose cancer Case number (ifknown) 2:23-bk-12747-VZ

If you own or have more than one, list here:
4.2 What is the property? Check all that apply

2445 S. Alameda St.

Single-family home Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Street address, if available, or other desenplion

O
C Suplex or multi-unit building Creditors Who Have Claims Secured by Property.
oO Condominium or couperalive
CC] Manufactured or mobile home
Current value of the Current value of the
Los Angeles CA 90058-0000 (] Land entire property? portion you own?
City ZIP Code (1 Investment property $4,990,000.00 | $4,990,000.00
(1 Timeshare
. Describe the nature of your ownership interest
Moone Industrial (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), If known.
Debtor 1 only Fee simple mod
Los Angeles C1 debtor 2 only
County 1 pebter 1 and Debtor 2 only

Check if this is community property
1 Aticast one of tive debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:
Value is from the formal valuation dated May 31, 2023.

If you own or have more than one, list here:
1.3 What is the property? Check all thal apply

24399 Old Highway 58 1 Single-family home Do not deduct secured claims or exemptions. Put

Street address, if available, or clher descnplion — og fic-canth Bitiall the amount of any secured claims an Schedule D:
£] Duplex or mult-unit building Creditors Who Have Claims Secured by Property.
Condominium or coanerative
{] Manufactured or mobile home

x Current value of the Current value of the

Hinkley CA 92347-0000 (—D Land entire property? portion you own?

city Stale (1 investment property $500,000.00 $500,000.00_
C] timeshare

. Describe the nature of your ownership interest
Bi other Industrial itt... {Such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known,

Debtor 1 only Fee simple

San Bernardino O1 pebtor 2 only

Counly O Detter 4 and Debtor 2 only

Check if this is community property
0 Atteast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

Value is an estimate which may be refined through further valuation.

Official! Form 106A/B Schedule A/B: Property page 2
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Debtor? Jong Uk Byun _. - eS Case number fifknown} 2:23-bk-12747-VZ

If you own or have more than one, list here:
1.4 What is the property? Check ail thal apply

1736 E. 24th St. 0) Single-family home De not deduc! secured clairns or exemptions, Put
Street address, if available, or other description mes _ the amount of any secured claims on Schedule D:
ET, Biprexerinuli-oric outlitg Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
[] Manufactured or mobile home
Current value of the Current value of the
Los Angeles CA 90058-0000 (] Land entire property? portion you own?
oe a eee [1 investment property ___$6,010,000.00 —_$6,010,000.00.
1 Timeshare
. 1 Describe the nature of your ownership interest
other Industrial arias (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
Debtor 1 only Fee simple
Los Angeles C1 Debtor 2 only
: Dalton tend Debtor only Check if this is community property
oO At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as focal
property identification number:

Value is from the formal valuation dated May 31, 2023.

If you own or have more than one, list here:
15 What is the property? Check all that apply

1746 E 22nd St.

Slreet address, if availabie, or cther description

Single-family home Do not deduct secured claims or exemptions. Put
Duplexcarmulteantt buildin the amount of any secured claims on Schedule D:
P ind g Creditors Who Have Claims Secured by Property,

ondominium or cooperative
Cond ff cooperati

Current value of the Current value of the
CA 90058-0000 Land entire property? portion you own?
State 2IP Cade Investment property a $650,00 0.00_ _ $650,000.00

Timeshare
Describe the nature of your ownership interest
(such as fee simple, tenancy by the entireties, or

O
oO
O
(4 Manufactured or mobile home
i
Oo
Oo
a

Other Parking lot

Who has an interest in the property? Check one a life estate), if known,
Debtor 4 only Fee simple
Los Angeles C1 Debter 2 only
County o Jel
. Denton Vane Oxler 2 nly oO Check If this is community property
DO At teast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

Value is from the formal valuation dated May 31, 2023.

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here ecsahcasies SessadeasbnauncteddvAtassiccriveans =>

res Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

t
i
i
|
i

$22,540,000.00

Official Form 706A/B Schedule A/B: Property page 3
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Debtor? Jong Uk Byun Case number (ifknown) 2:23-bK-127A7-V2

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

OO No
B ves
3.1. Make: Honda Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put
ee mm the amount of any secured claims on Schedule D:
Model; Ridgeline El Debtor 4 only Creditors Who Have Claims Secured by Property.
Year: 2017 cnet CJ Debtor 2 only Current value of the Current value of the

coe Mac 250,000 (1 Debtor 1 and Deblor 2 only entire property? portion you own?
Oat least one of the debtors and another

: 3439 Padua Ave.,
Claremont CA 91711 Oi check if this is community property

(see instructions)

$12,618.00 $12,618.00

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Bi No

O Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
.pages you have attached for Part 2. Write that mumber here.........----sscsseessnsneeeeeteteseeeseseseeneanenssessanenennavanneenens=>

$12,618.00

Go Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

ONe
@ Yes. Describe...

2 couches, 2 bookcases, 4 desks, 14 chairs, 2 tables, 10 lamps, 5
beds, mirror, refrigerator, stove, microwave, dishwasher,
cookware, dishes, small appliances, washing machine, dryer,
sewing machine, vacuum cleaner, tools;

Location: 3439 Padua Ave., Claremont CA 91711 $7,400.00

. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

(No
B yes. Describe.....

3 TVs, radio, stereo, DVD player, 3 computers;
Location: 3439 Padua Ave., Claremont CA 91711

$1,200.00

. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, mernorabilia, collectibles

Bi No
C1 Yes. Describe.....

. Equipment for sports and hobbies
Examples; Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis, canoes and kayaks; carpentry tools;
musical instruments

BNo

Offtcial Form 1064/8 Schedule A/B: Property page 4
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Debtor? = Jong UK Byun sp cae Case number (ifknown) 2:23-bk-12747-VZ
O Yes. Describe.....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

OO No
@ Yes. Describe.....

| Personal clotl g for Debtor and his family;
\ i 9 Padua Ave., Claremont CA 91711

$1,000.00

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

El No
O Yes. Describe...

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

EB No
C Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HI No
Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
ONo

@ Yes. Give specific information.....

eae eres hse ete
| Location: 3439 Padua Ave., Claremont CA91711

$20.00

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number Here .......:...ccccccsessneersssoandosinauseiaaterivseioaedbaccenmiansennastenes sie Na ae $9,620.00 |
Ears) Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? a Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

1) No

Cash Persie SSPE ON

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

C1 No

ves Instilution name:

Checking account

number ending in
17.1. 3703 Walls Fargo Bank...

Let 00.

Official Form 106A/B Schedule A/B: Property page 5
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Debtor 1 Jong Uk Byun Case number (if known) 2:23-bk-12747-VZ
Checking account

number ending in

17.2. 3544 Hanmi Bank $0.00

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
O ves Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

ONo
Hi Yes. Give specific information about them...............
Name ef entity: % of ownership:
Central Metal, Inc. 100 Unknown

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders,
Non-negotiable instruments are those you cannat transfer to someone by signing or delivering them.

Hi No
O Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: interests in RA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

OlNo

# Yes. List each account separately.
Type of account: Institution name:

ssl ssl -_ ; $1,556.00

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

EI No
IBS Bk oo mech cccucsss Institution name or individual:

23. Annuities {A contract for a periodic payment of money to you, either for life or for a number of years)

Bi No

OO Yes Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b){1), 529A(b), and 529(b)(1).

BNo
Ol Yes Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25, Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
No
O Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Hi No
QO Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Bi No

0 Yes. Give specific information about them...

Official Form 106A/B Schedule A/B: Property page 6
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Deblor1 = Jong Uk Byun spisupmemgac csi Case number (fknown) 2:23-bk-12747-VZ__

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
No
QD) Yes. Give specific information about them, including whether you already filed the returns and the tax years......

29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Hi No

O Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Securily
benefits; unpaid loans you made to someone else

No
QO Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA), credit, homeowner's, or renter's insurance

ONo

Hl Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

New York Life Insurance (Term Life) __ Children _

$0.00

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

Bno
O Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

O No

@ Yes. Describe each claim.........

| Claim against PACKO INVESTMENTS, INC., A CALIFORNIA
CORPORATION, ET AL, case number 23STCV07931. ___Unknown

[Possible claims against FA and RealEstate Broker __ S tyAe Unknown

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
@ No
O Yes. Describe each claim.........

35. Any financial assets you did not already list
Hi No

DC Yes. Give specific information.

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number Were... eccceescseeesecsesenseesnansaseeesernesssnannseataneacseceseseeeesssneeessaeeneanansansseesetaaees fad _ $3,529.00

siness-Related Property You Own or Ha nterest In, List any real estate in Part 1.

Official Form 1064/8 Schedule A/B: Property page 7

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Debtor 1

Main Document

Jong Uk Byun

37. Do you own or have any legal or equitable interest in any business-related property?
i No. Go to Pant 6.

Cl ves. Go to line 38.

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Case number (if known)

2:23-bk-12747-VZ

Fisd:31 Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
I No. Go to Part 7.

O yes. Go to line 47.

Lear

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

54. Add the dollar value of all of your entries from Part 7. Write that number here... eeeeeeeeeeees

List the Totals of Each Part of this Form

55,
56.
57.
58.
59.
60.
61.

62,

63.

Official Form 106A/B

C1 Na

@ Yes. Give specific information.........

['Matthew Eanet a cpm

Part 1: Total real estate, line 2 ..... sTaovevrvdnectentenanndasaenss
Part 2: Total vehicles, line 5 _ $12,618.00
Part 3: Total personal and household items, line 15 _ $9,620.00
Part 4: Total financial assets, line 36 $3,529.00
Part 5: Total business-related property, line 45 $0.00
Part 6: Total farm- and fishing-related property, line 52 _ $0.00
Part 7: Total other property not listed, line 54 - _ $0.00.
Total personal property. Add lines 56 through 61... $25,767.00

Total of all property on Schedule A/B. Add line 55 + line 62

Schedule A/B: Property

____.$22,540,000.00

Copy personal property total $25,767.00

$22,565,767.00 |

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AMARC RCC e le eT eee

Debtor 1 Jong Uk Byun _
FirstName

Debtor 2

(Spouse il, filing) “First Name

United States Bankruptcy Court for the:

Casenumber _2:23-bk-12747-Vz

(if Known}

Official Form 106C

~~ Middie Name

Middle Name.

CENTRAL DISTRICT OF CALIFORNIA

Last Name

Name

OO Check if this is
amended filing

Schedule C: The Property You Claim as Exempt

an

4122

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information, Using
the property you listed on Schedule A/8: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and

case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited

to the applicable statutory amount.

[EERZS Identify the Property You Claim as Exempt _

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

& You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you fist on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on
Schedule A/B that lists this property

2017 Honda Ridgeline 250,000 miles
Location: 3439 Padua Ave.,
Claremont CA 91711

Line from Schedule A/B: 3.1

2017 Honda Ridgeline 250,000 miles
Location: 3439 Padua Ave.,
Claremont CA 91711

Line from Schedule A/B: 3.1

2 couches, 2 bookcases, 4 desks, 14
chairs, 2 tables, 10 lamps, 5 beds,
mirror, refrigerator, stove,
microwave, dishwasher, cookware,
dishes, small appliances, washing
machine, dryer, sewing machine,
vacuum cleaner, tools;

Location: 3439 Padua Ave., Clare
Line from Schedule A/B: 6.1

3 TVs, radio, stereo, DVD player, 3

computers;

Location: 3439 Padua Ave.,
Claremont CA 91711

Line from Schedule A/B: 7.1

Official Form 106C

Current value of the
portion you own

Copy the value fram
Schedule A/B

$12,618.00

Sie 618.00

$7,400.00

$1,200.00

Amount of the exemption you claim

Check only one box for each exemption.

C.C.P. § 703.140(b)(2)

Specific Jaws that allow exemption

a $7,500.00
O 400% of fair market value, up to

any applicable statutory limit
i $5,118.00 C.C.P. § 703.140(b)(5)
O 400% of fair market value, up lo

any applicable statutory limit
a $7,400.00 C.C.P. § 703.140(b)(3)
O 400% of fair market value, up ta

any applicable statutory limit
a $1,200.00 ©.C.P. § 703.140(b)(3)
Oo

100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

page 1 of 2
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Debtor1 Jong Uk Byun == 7 Case number (if known) 2:23-bk-12747-VZ
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only ene box for each exemption.
Schedule A/B
Personal clothing for Debtor and his $1,000.00 m& $1,000.00 C.C.P. § 703.140(b)(3)
* ’ . .
family; ics athe is a 1 ei SRN A ie
Location: 3439 Padua Ave., 1 100% of fair market value, up to
Claremont CA 91711 any applicable statutory limit

Line from Schedule A/B: 10.1

Blood pressure monitor; $20.00 $20.00  ©-C.P.§ 703.140(b)(9)
Location: 3439 Padua Ave., rr a

Claremont CA 91711 1 100% of fair market value, up to

Line from Schedule A/B: 14.1 any applicable statutory limit

Gash $358.00 $358.00 C.C.P. § 703.140(b)(5)

Line from Schedule A/B: 16.1 -
C1 400% of fair market value, up to
any applicable statutory limil

Checking account number ending in $1,615.00 $1,615.00 C.C.P. § 703.140(b)(5)
3703: Wells Fargo Bank Pitan mre acer
Line from Schedule A/B: 17.1 [100% of fair market value, up to

any applicable statutory limit

SSI: SSI $1,556.00 i $1,556.00 ©-C.P. § 703.140(b)(10)(A)
Line from Schedule A/B: 21.1 Se = ter

any applicable statutory limit

New York Life Insurance (Term Life) $0.00 Bf Unknown  ©-©.P. § 703.140(b)(11)(D)
Beneficiary: Children Sn eines her
Line from Schedule A/B: 31.1 1 400% of fair market value, up to

any applicable statutory limit

Claim against PACKO

Unknown EB Unknown C.C.P. § 703.140(b)(11)(E)
INVESTMENTS, INC., A CALIFORNIA . - marr
CORPORATION, ET AL, case number C1 490% of fair market value, up to
23STCV07931. any applicable statutory limit
Line from Schedule A/B: 33.1
Possible claims against FA and Real Unknown ff Unknown  ©-©.P. § 703.140(b)(11)(E)
Estate Broker ieee eens pa a aa as ral sac :
Line from Schedule A/B: 33.2 C) 190% of fair market value, up to

any applicable statutory limit

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/07/25 and every 3 years after that for cases filed on or after the date of adjustment.)

No

Ol Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
Oo Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2
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Exhibit “D”
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JONG UK BYUN - PROJECTED MONTHLY CASH FLOW PER MONTH FOR NEXT 25 YEARS*

Income Source Month 1 Annual

Jong's SSI $1,560.00 $18,720.00
Management Fees** $10,000.00 $120,000.00
Payment by CMI as Co-Debtor** $10,000.00 $120,000.00
Rental Income - 1736 E 24th St. $20,800.00 $249,600.00
Rental tncome - 2445 S. Alameda St. $15,190.00 $182,280.00
Rental Income - 2203 S. Alameda St. $41,000.00 $492,000.00
Rental Income - 24399 State Highway 58 $2,000.00 $24,000.00
Total Income $100,550.00} $1,206,600.00

2203 S. Alameda Street
Mortgage $0.00 $0.00
2nd Mortgage $0.00 $0.00
Property Taxes (Estimate) $1,610.77 $19,329.24
Utilities $0.00 $0.00
Repairs/Maintenance $0.00 $0.00
Insurance $128.08 $1,536.96
Telephone, cable, and internet $0.00 $0.00
$1,738.85 $20,866.20

1736 East 24th Street
Mortgage $0.00 50.00
2nd Mortgage $0.00 $0.00
Property Taxes (Estimate) $1,037.71 $12,452.52
Utilities $0.00 $0.00
Repairs/Maintenance $0.00 $0.00
insurance $128.08 $1,536.96
Telephone, cable, and internet $0.00 $0.00
bc $1,165.79 $13,989.48

2445 S. Alameda Street
Mortgage $0.00 $0.00
2nd Mortgage $0.00 $0.00
Property Taxes (Estimate) $757.91 $9,094.92
Utilities $0.00 $0.00
Repairs/Maintenance $0.00 $0.00
Insurance $128.08 $1,536.96
Telephone, cable, and internet $0.00 $0.00
$885.99 $10,631.88

1746 East 22nd Street
Mortgage $0.00 $0.00

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JONG UK BYUN - PROJECTED MONTHLY CASH FLOW PER MONTH FOR NEXT 25 YEARS

Income Source Month 1 Annual
2nd Mortgage $9.00 $0.00
Property Taxes (Estimate) $517.00 $6,204.00
Utilities $0.00 $0.00
Repairs/Maintenance $0.00 $0.00
Insurance $128.08 $1,536.96
Telephone, cable, and internet $0.00 $0.00
$645.08 $7,740.96

24399 Old (State) Highway 58
Mortgage $0.00 50.00
2nd Mortgage $0.00 $0.00
Property Taxes (Estimate) $517.25 $6,207.00
Utilities $0.00 $0.00
Repairs/Maintenance $0.00 $0.00
Insurance $128.08 $1,536.96
Telephone, cable, and internet $0.60 50.00
$645.33 $7,743.96
Expenditures of Debtors

Food $1,050.00 $12,600.00
Utilities $1,580.00 $18,960.00
Housing $4,000.00 $48,000.00
Clothing, laundry and dry cleaning $70.90 5840.00
Medical and Dental $50.00 $600.00
Health Insurance $400.00 54,800.00
Personal care & personal grooming $60.00 $720.00
School Expenses $0.00 $0.00
Transportation $400.00 $4,800.00
Vehicle $0.00 50.00
Vehicle Insurance $150.00 $1,800.00
Recreation, clubs, entertainment, etc. $0.00 $0.00
$7,760.00 $93,120.00
Net Income $88,354.04 $1,060,248.48

*The Debtor understands that both income and expenses will likely increase over time but anticipates the ratio of

income over expenses to remain equally favorable.

**Central Metal, Inc. will pay the Debtor for management services. The specific amount is still to be determined. In
addition, since some of the debts the debtor incurred were incurred for funds used by CMI, CMI will pay certain debts.

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Exhibit “E”
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Banking
Banking

Allow peeple you trust to make payments, transfer money and monitor activity.
Manage Shared Users :

CHECKING & SAVINGS

ANY DEPOSIT CHECKING

¥¥XXXX 7581

r5Q0

ANY DEPOSIT CHECKING

¥x XY Xe TO? 3S

& PA ror THE
PLANET

ANY DEPOSIT CHECKING

XHKNXNSGHY

CURRENT BALANCE

$4,000.00

AVAILABLE BALANCE

23,900.00

$1,000.00

'

$3,831.63

$5,006,006

$3,004.00
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Exhibit “F”’
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DECLARATION OF CALEB HALVERSON

[, Caleb Halverson, hereby declare and state as follows:

l. ] am over the age of 18 years and a Certified General Appraiser. Except when based
on information and belief, the facts stated herein are within my personal knowledge and if 1 am
called upon to testify, | could and would do so competently thereto.

2. Lama Certified General Real Estate Appraiser licensed by the State of California
and my State of California Real Estate Appraiser’s License Number is 3010951.

3. } am onc of the three appraisers of the real property owned by Jong Uk Byun,
Assessor's Parcel Numbers: 5167-015-063, 5167-015-064, 5146-015-065, 5167-015-067
(“Property”).

4, On or about May 25, 2023, we appraised the Property. As shown in the appraisal
report, the appraised market value of such property is $23,770,000. Attached hereto as Exhibit “1”
is a true and correct copy of the appraisal report for the Property, which discloses all the data that
we have used in forming my opinion.

5, Although we canvot predict the economy or other variable factors, there is no
evidence of a decline in value in the foreseeable future in the subject property, based on my review
that 1 performed to prepare the appraisal report, Also, the subject property has noi declined in
value since the date of the appraisal.

[ declare under penalty of perjury under the Jaws of the United States of America that the
foregoing is true and correct.

Executed on June 24, 2023 in Los Angeles County, California.

Caleb Halverson, Declarant

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NEWMARK VALUATION & ADVISORY

1736 E. 24th
Street, 2203-2245
Alameda Street

1736 E. 24th Street, 2203-2245 Alameda Street
Los Angeles, Los Angeles County, CA 90058

Newmark Job No.: XX-XXXXXXX-1

Appraisal Report Prepared For:

John Uk Byon
2203 South Alameda Street .
Los Angeles, CA 90058 |

Prepared By:

Newmark Valuation & Advisory
117 East Colorado Blvd, Suite 200
Pasadena, CA 91105

NEWMARK eB
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NEWMARK VALUATION & ADVISORY

May 31, 2023

John Uk Byon
2203 South Alameda Street
Los Angeles, CA 90058

RE: Appraisal of an Industrial Land Site located at 1736 East 24th Street & 2203-2245
Alameda Street, Los Angeles, Los Angeles County, CA 90058, prepared by Newmark
Valuation & Advisory, LLC (herein “Firm” or “Newmark")

Newmark Job No.: XX-XXXXXXX-1

Dear Client

The subject is a 4.20-acre (182,817 SF) site in the City of Los Angeles. The asset consists of four
parcels that are irregular in shape and are near contiguous but a separated by a rail line and 24%

Street.

~ APN 5167-015-063 is a 42,652 square-foot triangular site on the northwest corner of
Alameda Street and 24' Street on the south side of the rail line. The site contains a
1,682-square-foot building and a steel canopy.

— APN 5167-015-064 is a 74,179-square-foot site on the north side of the rail line. The
site has frontage on 24" Street to the south and Alameda Street to the east. There is
no rentable area on site and only contains ancillary, steel canopy structures,

~ APN 5146-015-065 is a 14,577-square-foot site on the southwest corner of Alameda
Street and 22" Street. The site contains a steel canopy and is adjacent north of parcel
5167-015-064.

— APN 5167-015-067 is a 51,409-square-foot, triangular site on the southeast corner of
24" Street and Long Beach Avenue and is north of the rail line. The site includes two
concrete buildings that total 2,322 square-feet.

The subject is located in the Central Los Angeles industrial market approximately 0.5 miles south
of the 10 Freeway.

The subject is occupied by an owner user for as an industrial storage yard. The highest and best
use of the site is to the value as one economic unit as the individual parcels are smaller, irregular
sites which negatively impacts potential use and development. Therefore, the allocated individual
sites values are discounted on a 10% basis relative to the value of the assets combined.

Newmark Valuation & Advisory
117 East Colorado Blvd, Suite 200
Pasadena, CA 91105

NEWMARK www.nomrk.com/valuation
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May 31, 2023
John Uk Byon

Key Value Considerations

Strengths
— Good location in an established industrial district.
- Frontage on two primary commercial streets, Long Beach Avenue and Alameda
Street.

— Investor demand for this asset type is strong as there is limited supply of industrial
storage yards in Core Los Angeles markets.

— Good access to the 10 Freeway.

Risk Factors
— The overall appeal of the asset is negatively impacted by the limited functional utility
and development potential as the sites are not all contiguous (separated by a rail line
and 24" Street).

— National and global economies have experienced record setting inflation and interest
rates are rising. In an effort to curtail inflation, the Fed has embarked on an aggressive
strategy by raising the Federal Funds Rate which in turn has increased mortgage and
overall investment rates significantly since Q3 2022.

~ These rate changes plus the general risk in the national and global economies in 2023
are impacting commercial capital markets activity (primarily fewer sales) and are
impacting rent and expense growth modelling. These conditions are addressed in the
report and have been considered in the final conclusions within this report.

— The general consensus is the decline in values from the recent peak, Summer 2022,
have range from 5-20 percent (hotels at the low end and apartments/malls at the high
end),

Based on the analysis contained in the following report, the opinion of value for the subject is:

ti Ge ii she :

Appraisal Premise Interest Appraised Date of Value Value Conclusion

Market Value “As Is” Fee Simple 5/25/2023 $23,770,000
Compiled by Newmark

Per the request of the client we have also provided an allocated value for the individual parcels
Due to the irregular configuration and smaller site sizes, a 10% discount has been made.

NEWMARK 1736 E. 24lh Streel, 2203-2245 Alameda Street
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May 31, 2023
John Uk Byon

: Re
See

Land Area

*

. “Allocated Tatal Site

fyi et Pee aes
Papin iid! Sf ULaesN

Land Area

Address APN (SF) (Acre) Value PSF Value Rounded
2245 Alameda Street = 5167-015-063 42,652 0.98 $117.00 $4,990,284 $4,990,000
2203 Alameda Street —5167-075-064 74,179 1.70 $117.00 $8,678,943 $8,680,000
2203 Alameda Street 167-015-065 14,577 0.33 $117.00 $1,705,509 $1,710,000
1736 £. 24th Street 5167-015-067 51,409 1.18 $117.00 $6,014,853 $6,010,000
Combined Values $21,389,589 $21,390,000

Compiled by Newmark

Extraordinary Assumptions

An extraordinary assumption is defined in USPAP as an assignment-specific assumption as of
the effective date regarding uncertain information used in an analysis which, if found to be false,
could alter the appraisers opinions or conclusions. The value conclusions are subject to the
following extraordinary assumptions that may affect the assignment results.

i: None

Hypothetical Conditions

A hypothetical condition is defined in USPAP as a condition, directly related to a specific
assignment, which is contrary to what is known by the appraiser to exist on the effective date of
the assignment results, but is used for the purpose of analysis. The value conclusions are based
on the following hypothetical conditions that may affect the assignment results.

1: None

The appraisal was developed based on, and this report has been prepared in conformance with
the Client's appraisal requirements, the guidelines and recommendations set forth in the Uniform
Standards of Professional Appraisal Practice (USPAP), and the requirements of the Code of
Professional Ethics and Standards of Professional Appraisal Practice of the Appraisal Institute.

NEWMARK 1736 E, 24th Sueel, 2203-2245 Alameda Street
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Desc

CERTIFICATION 5
Certification
We certify that, to the best of our knowledge and belief:

1. The statements of fact contained in this report are true and correct.

2. The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting
conditions and are our personal, impartial and unbiased professional analyses, opinions, and conclusions.

3. Wehave no present or prospective interest in the property thal is the subject of this report and no personal
interest with respect to the parties involved.

4, We have no bigs with respeel to the property that is the subject of this report or lo the parties involved with this
assignment.

5. Our engagement in this assignment was not contingent upon developing or reporting predetermined results.

6. Our compensation for completing this assianment is not contingent upon the development or reporting of a
predetermined value or direction in value that favors the cause of the client, the amount of the value opinion, the
attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of
this appraisal.

7. This appraisal assignment was not based upon a requested minimum valuation, a specific valuation, or the
approval of a loan.

8. Our analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with
the Uniform Standards of Professional Appraisal Practice, as well as the requirements of the State of California.

9. The reported analyses, opinions, and conclusions were developed, and this report has been prepared, in
conformity with the Code of Professional Ethics and Standards of Professional Appraisal Practice of the
Appraisal Institute.

10. The use of this report is subject to the requirements of the Appraisal institute relating to review by its duly
authorized representatives.

11. Geoff Papp made a personal inspection of the property that is the subject of this report. Berick Treidler and Caleb
Halverson have not personally inspected the subject.

12. No one provided significant real property appraisal assistance to the person(s) signing this certification.

13. The Firm operates as an independent economic entity. Although employees of other service lines or affiliates of
the Firm may be contacted as a part of our routine market research investigations, absolute client confidentiality
and privacy were maintained at all times with regard 1o this assignment without conflict of interest.

14. Within this report, "Newmark", “Newmark Valuation & Advisory”, "Newmark, Inc.", and similar forms of reference
refer only to the appraiser(s) who have signed this certification and any persons noted above as having provided
significant real property appraisal assistance to the persons signing this report.

15. Berick Treidler has not performed any services, as an appraiser or in any other capacity, regarding the property
that is the subject of this report within the three-year period immediately preceding the agreement to perform this
assignment. Geoff Papp has not performed any services, as an appraiser or in any other capacity, regarding the
property that is the subject of this report within the three-year period immediately preceding the agreement to
perform this assignment. Caleb Halverson has not performed any services, as an appraiser or in ary other
capacity, regarding the property that is the subject of this report within the three-year period immediately
preceding the agreement to perform this assignment.

NEWM ARK 1796 E 24th Street, 2203-2245 Alameda Street
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CERTIFICATION 6
Lf roa tC os A ff
Berick Treidler Geoff Papp
Senior Managing Director Associate Director
Certified General Real Estate Appraiser Certified General Real Estate Appraiser
California # AGO08775 California # AGO26317
Telephone: 213.596.2236 Telephone: 626.204.3767
Email: Berick.Treidler@nmrk.com Email: geoff.papp@nmrk.com
if a * f / 4
fe J; fx Sek
Caleb Halverson
Senior Appraiser

Certified General Real Estate Appraiser
California # 3010951

Telephone: 626.204.3773

Email: caleb.halverson@nmrk.com

NEWMARK 1736 E. 24th Street, 2203-2245 Alameda Sireel
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Full Appraisal on file with the Court or may be

obtained by requesting it from counsel for the
Debtor at go@gobklaw.com or 213-389-4362

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DECLARATION OF CALEB HALVERSON

1, Caleb Halverson, hereby declare and state as follows:

f lam over the age of 18 years and a Certified General Appraiser. Except when based
on information and belief, the facts stated herein are within my personal knowledge and if | am
called upon to testify, I could and would do so competently thereto,

2. 1 am a Certified General Real Estate Appraiser licensed by the State of California
and my State of California Real Estate Appraiser’s License Number is 3010951.

3. Tam one of the three appraisers of the real property owned by Jong Uk Byun,
Assessor’s Parcel Number: 5167-015-068 (“Property”).

4, On or about May 25, 2023, we appraised the Property. As shown in the appraisal
report, the appraised market value of such property is $650,000. Attached hereto as Exhibit “1” is a
true and correct copy of the appraisal report for the Property, which discloses all the data that we
have used in forming my opinion.

Bi Although we cannot predict the economy or other variable factors, there is no
evidence of a decline in value in the foreseeable future in the subject property, based on my review
that 1 performed to prepare the appraisal report. Also, the subject property has not declined in
value since the date of the appraisal.

1 declare under penalty of perjury under the laws of the United States of Amcrica that the
foregoing is truc and correct.

Executed on June 24, 2023 in Los Angeles County, California.

f

Caleb Halverson, Declarant

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Exhibit “1”
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NEWMARK VALUATION & ADVISORY

1746 East 22nd
Street

1746 East 22nd Street
Los Angeles, Los Angeles County, CA 90058

Newmark Job No.: XX-XXXXXXX-4

Appraisal Report Prepared For:

John Uk Byon
2203 South Alameda Street
Los Angeles, CA 90058

Prepared By:

Newmark Valuation & Advisory
117 East Colorado Blvd, Suite 200
Pasadena, CA 91105

NEWMARK
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NEWMARK VALUATION & ADVISORY

May 31, 2023

John Uk Byon
2203 South Alameda Street
Los Angeles, CA 90058

RE: Appraisal of an Industrial Land Site at 1746 East 22nd Street, Los Angeles, Los Angeles
County, CA 90058, prepared by Newmark Valuation & Advisory, LLC (herein “Firm” or
“Newmark”)

Newmark Job No.: XX-XXXXXXX-4

Dear Client

The subject is a 0.12-acre (5,016 SF) site on the south side of 22°% Street in the City of Los
Angeles. The asset is a mid-block parcel in between Long Beach Avenue and Alameda Street in
a primary industrial market. The site has good regional access as it situated 0.5 miles south of
the 10 Freeway. The subject site is paved and is gate accessed and is used for car parking.

Key Value Considerations
Strengths
— Good location in an established industrial district.
— Good local access in proximity to Long Beach Avenue and Alameda Street.

— Investor demand for this asset type is strong as there is limited supply of industrial
storage yards in Core Los Angeles markets.

— Good access to the 10 Freeway.

- The small size lowers the total dollar investment and it would appeal to all adjoining
property owners as use for parking or storage could be accretive to the value of their
existing asset.

Risk Factors
— The overall appeal of the asset is negatively impacted by smaller size as it limits the
onsite development potential and use of the site.

— National and global economies have experienced record setting inflation and interest
rates are rising. In an effort to curtail inflation, the Fed has embarked on an aggressive
strategy by raising the Federal Funds Rate which in turn has increased mortgage and
overall investment rates significantly since Q3 2022.

Newmark Valuation & Advisory
117 East Colorado Slvd, Suite 200
Pasadena, CA 91105

NEWMARK www.nmrk.com/valuation
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May 31, 2023
John Uk Byon

— These rate changes plus the general risk in the national and global economies in 2023
are impacting commercial capital markets activity (primarily fewer sales) and are
impacting rent and expense growth modelling. These conditions are addressed in the
report and have been considered in the final conclusions within this report.

— The general consensus is the decline in values from the recent peak, Summer 2022,
have range from 5-20 percent (hotels at the low end and apartments/malls at the high

end).

Based on the analysis contained in the following report, the opinion of value for the subject is:

OSES Ree eee
REESE SO GREE ONE Oy
a AEE Ee Ee EER B ics Peasteee

CPT eeni ett bee one eects

Sofi ME Mind Mage Moos RR ea

Appraisal Premise Interest Appralsed Date of Value Value Conclusion
Market Value “As is” Fee Simple 5/25/2023 $650,000

Coinpiled by Newmark

Extraordinary Assumptions

An extraordinary assumption is defined in USPAP as an assignment-specific assumption as of
the effective date regarding uncertain information used in an analysis which, if found to be false,
could alter the appraiser’s opinions or conclusions. The value conclusions are subject to the
following extraordinary assumptions that may affect the assignment results.

Ig None

Hypothetical Conditions

A hypothetical condition is defined in USPAP as a condition, directly related to a specific
assignment, which is contrary to what is known by the appraiser to exist on the effective date of
the assignment results, but is used for the purpose of analysis. The value conclusions are based
on the following hypothetical conditions that may affect the assignment results.

1. None

The appraisal was developed based on, and this report has been prepared in conformance with
the Client's appraisal requirements, the guidelines and recommendations set forth in the Uniform
Standards of Professianal Appraisal Practice (USPAP), and the requirements of the Code of
Professional Ethics and Standards of Professional Appraisal Practice of the Appraisal Institute.

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CERTIFICATION 4

Certification

We certify that, to the best of our knowledge and belief:

1. The statements of fact contained in this report are true and correct.

2. The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting
conditions and are our personal, impartial and unbiased professional analyses, opinions, and conclusions.

3. We have no present or prospective interest in the property that is the subject of this repart and no personal
interest with respect to the parties invalved.

4. We have no bias with respect to the property that is the subject of this report or to the parties invoived with this
assignment.

5. Our engagement in this assignment was not contingent upon developing or reporting predetermined results,

6. Our compensation for completing this assignment is not contingent upon the development or reporting of a
predetermined value or direction in value that favors the cause of the client, the amount of the value opinion, the
attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of
this appraisal.

7. This appraisal assignment was not based upon a requested minimum valuation, a specific valuation, or the
approval of a loan.

8. Our analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with
the Uniform Standards of Professional Appraisal Practice, as well as the requirements of the State of California.

9, The reported analyses, opinions, and conclusions were developed, and this report has been prepared, in
conformity with the Code of Professional Ethics and Standards of Professional Appraisal Practice of the
Appraisal Institute.

10, The use of this report is subject to the requirements of the Appraisal Instilute relating to review by its duly
authorized representatives.

11. Geoff Papp made a personal inspection of the property that is the subject of this report. Berick Treidler and Caleb
Halverson have not personally inspected the subject.

12. No one provided significant real property appraisal assistance to the person(s) signing this certification.

13. The Firm operates as an independent economic entity. Although employees of other service lines or affiliates of
the Firm may be contacted as a part of our routine market research investigations, absolute client confidentiality
and privacy were maintained at all times with regard to this assignment without conflict of interest.

14. Within this report, “Newmark”, "Newmark Valuation & Advisory’, “Newmark, Inc.", and similar forms of reference
refer only to the appraiser(s) who have signed this certification and any persons noted above as having provided
significant real property appraisal assistance to the persons signing this report.

15. Berick Treidler has not performed any services, as an appraiser or in any other capacity, regarding the property
that is the subject of this report within the three-year period immediately preceding the agreement to perform this
assignment. Geoff Papp has not performed any services, as an appraiser or in any other capacity, regarding the
property that is the subject of this report within the three-year period immediately preceding the agreement to
perform this assignment. Caleb Halverson has not performed any services, as an appraiser or in any other
capacity, regarding the property that is the subject of this report within the three-year period immediately
preceding the agreement to perform this assignment.

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CERTIFICATION 5

af Sf -

Berick Treidler Geoff Papp

Senior Managing Director Associate Director

Certified General Real Estate Appraiser Certified General Real Estate Appraiser

California # AGO08775 California # AG026317

Telephone: 213.596.2236 Telephone: 626.204.3767

Email: Berick.Treidler@nmrk.com Email: geoff.papp@nmrk.com

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Caleb Halverson
Senior Appraiser
Certified General Real Estate Appraiser
California # 3010951

Telephone: 626.204.3773

Email: caleb.halverson@nmrk.com

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Full Appraisal on file with the Court or may be
obtained by requesting it from counsel for the
Debtor at go@gobklaw.com or 213-389-4362

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Exhibit “G”
1)

2)

3)

4)

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Lease Agreement Chart
Property: 2445 S. Alameda Street
Tenant Term Rent Amount
Kim Ki Joong Month to Month $2,500.00
Allison & Diesel Transmission Parts 4/10/2020-4/10/2025 $12,690.00
Property: 2203 S. Alameda St.
Tenant Term Rent Amount
Union CM, Inc. 11/01/2019-11/01/2024 $41,000.00
Property: 1736 E. 24" St.
Tenant Term Rent Amount
Union CM, Inc. 11/01/2019-11/01/2024 $20,800.00
Property: 24399 State Highway 58
Tenant Term Rent Amount
Union CM, Inc. 11/01/2019-1 1/01/2024 $2,000.00

Rents Total:

$78,990.00

Desc

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Exhibit “H”’
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EXAIBIT HH

‘Claimant: Internal Revenue Service (Proof of Claim No. 4) _

Claim Amount . Amount Paid After Effective Date fal
Rate on Effective E Each Balloon Term of
De sted (§511) Date ey Payment Pymts Payments
Payable 12
months from
Effective Date
with interest
$1,877 ,834.00 7% $10,954.03 {J Monthly $10,954.03 $1,877,834.00 | payments in
L} Quarterly prior months
for no more
than 12
months.

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Exhibit “T”’
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EXHIBIT |

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Desc

i] CLASS #4d

Priority of lien: Varies by Property

[_] Lien is not modified in any way.

constitute full satisfaction of such lien.

Basis for secured status: Judgment and Deeds of Trust

Claimant: Mohamed Sanfaz (Packo Investments, Inc., as assignee)

[X] Lien is modified as follows: It is deemed satisfied upon full payment under this Plan.
Holder must record a Satisfaction of Judgment as required by applicable law upon payment
under this Plan, which shall constitute full satisfaction of such lien. With respect to deeds of
trust, this claim is deemed reconveyed upon full payment under this Plan. Holder must record
a reconveyance as required by applicable law upon payment under this Plan, which shall

Total Total Amount First Frequency Total
Amount of | of Payments Amount of of Yearly Final
Interest | Payment
Allowed Over Time to Each Payments | payments Payment
: aoe Rate Date
Claim Satisfy Installment date
Secured Claim
$743,291.77 |$817,620.95 10% Effective /|$6,194.10 Monthly with |12 12 Months
Date with balloon — [balloon from Effective
payment of payment no Date
$743,291.77  |later than 12
months after
Effective
Date

Address or Other Description of Collateral Securing Claim 4d: Los Angeles, California properties with
addresses of (1) 2245 Alameda Street, APN 5167-015-063: (2) 2203 Alameda Street, APN 5167-015-065;
(3) 2203 Alameda Street, APN 5167-0105-065; (4) 1736 E. 24" Street, APN 5167-015-067 and (5) 1746 East
22nd Street (APN 5167-015-068)

Value:
$24,000,000

Valuation

Method [x] Other: Debtor as owner

[_] Order on motion or stipulation [XJ Declaration: Certified appraiser

[xX] Additional Comments relating to Class #4d.
None.

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[x] CLASS #e

Priority of lien: Top priority.

[_] Lien is not modified in any way.

Claimant: Southern Counties Oil, Co.

Basis for secured status: Property Taxes

Lien is modified as follows: It is deemed satisfied upon full payment under this Plan,
Holder must record a release the lien as required by applicable law upon payment under this
Plan, which shall constitute full satisfaction of such lien.

Total Total Amount First Frequency Total
Amount of of Payments Amount of of Yearly Final
. Interest | Payment
Allowed Over Time to Rate Date Each Payments | payments Payment
Claim Satisfy ° : Installment date
Secured Claim
$81,590.14 | $96,276.37 18% Effective | $1,223.85 Monthly 12 12 Months
Date with balloon | with from
payment of | balloon Effective
$81,590.14 | payment Date
no later
than 12
months
after
Effective
Date

Address or Other Description of Collateral Securing Claim 4e: Parcels 0497192040000, 0497192090000
and 0497192100000 in the county of San Bernardino.

Value:
$500,000

Valuation
Method

[_] Order on motion or stipulation [] Declaration: Certified appraiser
Other: Debtor as owner

>] Additional Comments relating to Class #4e:
Total payment may differ if this claim is paid early.

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[x] CLASS #4f | Claimant: Southern Counties Oil, Co.
Basis for secured status: Judgment for Goods Sold
Priority of lien: Varies by Property.
[_] Lien is not modified in any way.
[x] Lien is modified as follows: It is deemed satisfied upon full payment under this Plan.
Holder must record a Satisfaction of Judgment as required by applicable law upon payment
under this Plan, which shall constitute full satisfaction of such lien.
Total Total Amount First Frequency Total
Amount of | of Payments Amount of of Yearly Final
: Interest | Payment
Allowed Over Time to Rate Date Each Payments | payments Payment
Claim Satisfy : Installment date
Secured Claim
$14,213.24 | $15,049.33 10% Effective | $118.44 Monthly 12 12 Months
Date with balloon | with from
payment of | balloon Effective
$14,213.24 | payment Date
no later
than 12
months
after
Effective
Date

Address or Other Description of Collateral Securing Claim 4e: Some or all of the following Los Angeles,

California properties with addresses of (1) 2245 Alameda Street, APN 5167-015-063; (2) 2203 Alameda Street,
APN 5167-015-065; (3) 2203 Alameda Street, APN 5167-0105-065; (4) 1736 E. 24'" Street, APN 5167-015-067
and (5) 1746 East 22nd Street (APN 5167-015-068)

Value:
$24,000,000

Valuation
Method

(_] Order on motion or stipulation [Xx] Declaration: Certified appraiser

SX] Other: Debtor as owner

[><] Additional Comments relating to Class #4f:
None.

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3435 Wilshire Blvd., 27th Floor
Los Angeles, CA 90010

A true and correct copy of the foregoing document entitled (specify): 1 Amended Disclosure Statement And Plan Of
Reorganization [11 U.S.C. §§ 1123, 1125] will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d): and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
September 27, 2023, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Melody G Anderson on behalf of Creditor Creditors Adjustment Bureau, Inc.
manderson(@kjfesq.com

Katrina M Brown on behalf of Creditor Titan Asset Purchasing, LLC
kbrown@pskbfirm.com

Matthew L Eanet on behalf of Debtor Jong Uk Byun
matt@eanetpc.com, sara(@eanetpc.com

Barry S Glaser on behalf of Creditor San Bernardino County Tax Collector
bglaser@salvatoboufadel.com, gsalvato(@salvatoboufadel.com;Jboufadel@salvatoboufadel.com;¢gsalvato@ecf.courtdrive.com

David W, Meadows on behalf of Creditor Packo Investments, Inc, as Assignee of The Bae Family Trust
david@davidwmeadowslaw.com

David W. Meadows on behalf of Creditor Packo Investments, Inc. as Assignee of The Bae Family Trust, and Packo Investments, Inc.
as Assignee of Mohamed Sanfaz
david@davidwmeadowslaw.com

David W. Meadows on behalf of Creditor Packo Investments, Inc., as Assignee of Mohamed Sanfaz
david@davidwmeadowslaw.com

David W. Meadows on behalf of Interested Party Courtesy NEF
david@davidwmeadowslaw.com

Kelly L Morrison on behalf of U.S. Trustee United States Trustee (LA)
kelly.l.morrison@usdoj.gov

Giovanni Orantes on behalf of Debtor Jong Uk Byun
go@gobklaw.com, gorantes@orantes-
law.com,cmh@zgobklaw.com,gobklaw@gmail.com,go(@ecf.inforuptcy.com:orantesgr89 122 @notify.bestcase.com

Matthew D. Resnik on behalf of Interested Party Courtesy NEF
Matt@rhmfirm.com, roksana@rhmfirm.com;rosario@rhmfirm.com:sloan@rhmfirm.com:priscilla@rhmfirm.com:rebeca@rhmfirm.co
m:david(@rhmfirm.com:susie@rhmfirm.com;max(@rhmfirm.com;russ@rhmfirm.com

Gregory M Salvato on behalf of Creditor San Bernardino County Tax Collector
gsalvato@salvatoboufadel.com, calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com:gsalvato@ecf.inforuptcy.com

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
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United States Trustee (LA)
ustpregion16.la.ecf(Musdoj.gov

[_] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On _September 21, 2023 _, | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

VIA PRIORITY MAIL

United States Bankruptcy Court
Honorable Vincent P. Zurzolo
255 E. Temple Street, Suite 1360
Los Angeles, CA 90012

L_] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

[] Service information continued on attached page

Sp

| declare under penalty of perjury under the laws of the United States that the foregoing is "P ect,

nner ey

September 21, 2023 Andrea M. Castro

Date Printed Name Signature - Tc oe

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
